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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------X
ABBY GROSSBERG,                                                       Case No.: 1:23-cv-02368

                                   Plaintiff,

        -- against --                                                 COMPLAINT

FOX CORPORATION, FOX NEWS NETWORK, LLC,
JERRY ANDREWS, TUCKER CARLSON,
DAVID CLARK, THOMAS FOX, RALPH GIORDANO, JURY TRIAL DEMANDED
ALEXANDER MCCASKILL, JUSTIN WELLS,
and LESLEY WEST,


                                    Defendants.
------------------------------------------------------------------X

        Plaintiff, Abby Grossberg, by and through her attorneys, Filippatos PLLC, hereby files this

Complaint against Defendants Fox Corporation, Fox News Network, LLC (collectively “Fox

News” or “Entity Defendants”), as well as Defendants Jerry Andrews, Tucker Carlson, David

Clark, Thomas Fox, Ralph Giordano, Alexander McCaskill, Justin Wells, and Lesley West

(collectively “Individual Defendants”), to allege upon knowledge concerning her own experience,

and upon information and belief as to all other matters, as follows:

                                     PRELIMINARY STATEMENT

        1.       This case is as troubling as it is familiar; it is yet another in the long line of cases

chronicling the misogynistic environment that permeates Fox News and fosters a toxic workplace

where truth remains a fugitive while female workers are verbally violated on almost a daily basis

by a poisonous and entrenched patriarchy.

        2.       Plaintiff Abby Grossberg, a dedicated and hardworking former Senior Booking

Producer on the Sunday Morning Futures with Maria Bartiromo (“SMFMB”) show and currently
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the Head of Booking on the Tucker Carlson Tonight (“TCT”) program, endured an extremely

hostile work environment under the auspices of senior executives, including the Individual

Defendants. Ms. Grossberg was isolated, overworked, undervalued, denied opportunities for

promotion, and generally treated significantly worse than her male counterparts, even when those

men were less qualified than her.

        3.       Ultimately, in August 2022, Ms. Grossberg could no longer tolerate the toxic

atmosphere victimizing women on SMFMB and sought a fresh start by accepting a position with

Tucker Carlson, the veritable face of Fox News. To her dismay, Ms. Grossberg went from the

proverbial frying pan into the fire. As Head of Booking on TCT, Ms. Grossberg continued to

endure a work environment that subjugates women based on vile sexist stereotypes, typecasts

religious minorities and belittles their traditions, and demonstrates little to no regard for those

suffering from mental illness. TCT, and its eponymous host, are no strangers to controversy –

deemed by some as “the most racist show in the history of cable news.” 1 Mr. Carlson’s derogatory

comments towards women, and his disdain for those who dare to object to such misogyny, is well

known on the set of TCT.

        4.       Consistent with Fox News’s long history of tolerating gender harassment and

targeting women who report it, Fox News retaliated against Ms. Grossberg after she complained

about the unlawful harassment (based on her gender and Jewish religion) to which she was

subjected by Alexander McCaskill and Justin Wells, both Producers on TCT. Mere hours after




        1
          See Nicholas Confessore, N.Y. TIMES, What to Know About Tucker Carlson’s Rise, April 30, 2022,
available        at        https://www.nytimes.com/2022/04/30/business/media/tucker-carlson-fox-news-
takeaways.html (last accessed February 22, 2023); see also Nicolas Confessore, N.Y. TIMES, How Tucker Carlson
Reshaped Fox News — and Became Trump’s Heir, April 30, 2022, updated May 16, 2022, available at
https://www.nytimes.com/2022/04/30/us/tucker-carlson-fox-
news.html?action=click&module=RelatedLinks&pgtype=Article (last accessed March 20, 2023).


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Ms. Grossberg had the courage to speak up to a superior named Thomas Fox, Senior Editorial

Producer, she was called into a meeting with Human Resources and presented with a bogus written

warning by Monica Mekeel, Senior Vice President of Human Resources (“HR”). Then, even after

expressing her concerns to Ms. Mekeel directly, Ms. Grossberg was disregarded and ordered to

return to work and face the same environment about which she had just complained, which she

had made clear was causing her severe stress and anxiety. Ultimately, feeling ignored and

unprotected by Fox News, and suffering from severe anxiety due to the unlawful treatment she

received from her male supervisors and colleagues, Ms. Grossberg sought protected FMLA leave

supported by her therapist.

       5.       Moreover, as detailed below, Ms. Grossberg received damaging and woefully

inferior and inadequate legal representation (if you can even call it that) as compared to her male

counterparts at Fox News. Quite simply, Fox’s legal team coerced, intimidated, and misinformed

Ms. Grossberg as they “prepared” her in connection with deposition testimony she gave in the

pending defamation case brought by the company known as Dominion, titled U.S. Dominion, Inc.

v. Fox News Network, LLC, N21C-03-257 (Del. Sup. Ct. Mar. 26, 2021) (“Dominion”), resulting

in irretrievable reputational and emotional harm.

       6.       Then, as if Fox News could not act any more unlawfully, the Network sued Ms.

Grossberg in an effort to silence her from telling her story in this lawsuit minutes after she refused

to agree to settle her claims alleged herein on Fox News’s terms. There could hardly be a more

vivid and clear example of unlawful retaliation.

       7.       Except Fox News did in fact top its illicit behavior just hours later, as it abruptly

placed Ms. Grossberg on forced administrative leave, effectively ending her career at the Network,

in a blatant display of unlawful retaliation.



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        8.       Unfortunately for Fox News, Ms. Grossberg refuses to be silenced, and brings this

case to obtain vindication for Fox News’s flagrant violations of her rights under the Equal Pay Act,

29 U.S.C. § 206(d) (“EPA”), the New York State Human Rights Law, N.Y. Exec. Law, §§ 296 et seq.

(“NYSHRL”), the New York City Human Rights Law, Admin. Code §§ 8-107, et seq. (“NYCHRL”), the

New York Equal Pay Act, New York Labor Law § 194 (“NYEPA”).

                                  JURISDICTION AND VENUE

        9.       This Court had subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1367(a) as Plaintiff is asserting claims under the Federal Equal Pay Act.

        10.      The Court has supplemental jurisdiction over Plaintiff’s state and city law claims

as those claims are so related to the claims in this action that they form part of the same case or

controversy under Article III of the United States Constitution.

        11.      Venue in the Southern District of New York is proper pursuant to 28 U.S.C. §

1391(b)(1) and (2) because Defendant Fox News resides in New York, New York, and a

substantial part of the events or omissions giving rise to the claims herein occurred in this

district.

                             ADMINISTRATIVE REQUIREMENTS

        12.      Simultaneously with the filing of this action, Plaintiff will file a Charge of

Discrimination with the Equal Employment Opportunity Commission (“EEOC”) in connection

with her claims of gender/sex, religion, and disability discrimination as alleged herein pursuant

to Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (“Title

VII”) and the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. §§ 12101, et seq.

        13.      Once the EEOC has concluded its investigation and/or issued Plaintiff a Notice of

Right to Sue, Plaintiff will seek leave to amend this Complaint to add causes of action under

Title VII and the ADA against Fox News.

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        14.      Further, simultaneously with the filing of this Complaint, Plaintiff will serve a

copy of this Complaint on the New York City Law Department, New York State Attorney

General, and the New York City Human Rights Commission 2 to fulfill any and all administrative

prerequisites with respect to her NYSHRL and NYCHRL claims alleged herein.

                                              THE PARTIES

        15.      Plaintiff Abby Grossberg is an adult resident of New York County, New York,

who is currently employed by Defendant Fox News Network LLC.

        16.      Defendant Fox Corporation is a corporation formed under Delaware law and

headquartered in New York, New York. Fox Corporation is a publicly traded corporation listed

on the Nasdaq stock exchange and is the parent company of Defendant Fox News Network LLC,

which comprises most of its profits. According to the New York Times, Fox News Network LLC

generated $899 million in pretax income in 2020, accounting for 95 percent of Fox Corporation’s

total pretax profit. 3

        17.      Defendant Fox News Network LLC is widely regarded as one of the most powerful

and far-reaching news organizations in the world. Fox News Network LLC operates, among other

things, the Fox News Channel, a 24-hour cable news station reaching about 90 million U.S. homes.

Fox News averages over three million viewers during its primetime evening news programs and

nearly two million daytime viewers. Fox News Network LLC is a limited liability company

organized under the laws of Delaware, with a principal place of business in New York, New York.




         2
           In June 2021, Fox News paid a $1 million fine to the New York City Human Rights Commission to settle
claims of widespread sexual misconduct, the highest fine ever ordered by the Commission for violations of the New
York City Human Rights Law.
        3
         N.Y. TIMES, Fox News Profits Grow Even As Viewership Declines, October 21, 2021, available at
https://www.nytimes.com/live/2021/05/05/business/stock-market-today (last accessed on March 20, 2023).

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        18.      For ease of reference, unless stated otherwise, the two Entity Defendants are

collectively referred to herein as “Fox News.”

        19.      While not currently named as defendants herein, the Chief Executive Officer

(“CEO”) of Fox Corporation, Lachlan Murdoch, and the CEO of Fox News Network LLC,

Suzanne Scott, may become named defendants based upon discovery yet to be adduced in this

action concerning their involvement with respect to Plaintiff’s claims and the corporate and

economic relationships between the two Entity Defendants. It stands to reason that because of the

overwhelming importance of Fox News Network LLC’s results (i.e., 95% of Fox Corporation’s

profits), Lachlan Murdoch plays a direct role in the management of Fox News Network LLC. On

information and belief, all important hiring and firing decisions and all internal significant

personnel-related investigations at Fox News are vetted by him, and no decisions, including

whether to protect senior Fox News talent, retaliate against victims or opponents of sexual

harassment, or encourage, condone, and or abet sexual misconduct or harassment by senior Fox

News executives, can be made without his approval in collaboration with Ms. Scott.

        20.      Moreover, as the CEO of Fox Corporation, Lachlan Murdoch is required to provide

certifications under the Sarbanes-Oxley Act as to the truthfulness of the company’s financial

disclosures, which must address the company’s sexual harassment and misconduct lawsuits. 4 To

be able to certify these documents, Lachlan Murdoch is required to regularly communicate with

Fox News’s operational team, including Ms. Scott, and Fox News’s auditors and attorneys, and to

ensure that complaints from local agencies such as the New York City Human Rights Commission

(“NYCHRC”) and New York State Division of Human Rights (“NYSDHR”) lead to the



        4
            See United States Securities and Exchange Commission, Form 10-K, Fox Corporation available at
https://investor.foxcorporation.com/static-files/f0672f32-33a9-44b4-ae68-6b4b74590111, at 96 (disclosing sex-based
litigation and investigations).

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strengthening of Fox News’s internal controls in place to investigate, prevent, and remedy

significant reputational risks resulting from Fox News’s tolerance and condoning of sexual

harassment, assault, and other gender-based discrimination or retaliation antithetical to the

#MeToo movement. In this context, Lachlan Murdoch, along with Ms. Scott, likely bear ultimate

corporate responsibility for the negligent supervision and retention of personalities with a known

propensity to create a hostile working environment for the women of Fox News.

       21.     Defendant Jerry Andrews is a Senior Executive Producer of Weekend News at Fox.

At all relevant times, Mr. Andrews has been an agent of Fox News, and has had authority to make

decisions impacting Ms. Grossberg’s employment. Upon information and belief, Defendant

Andrews is a resident of the State of New York.

       22.     Defendant Tucker Carlson is a Fox News television personality and the host of Fox

News’s Tucker Carlson Tonight (“TCT”) program. In February 2021, Mr. Carlson renewed a

multi-year contract, reportedly valued at $10 million per year. Mr. Carlson’s program holds Fox

News’s premier 8:00 p.m. primetime weekday slot, and, to date, Tucker Carlson Tonight has been

the highest rated cable news program in 2023. At all relevant times, Mr. Carlson has been an agent

of Fox News, and has had the authority to make decisions impacting Ms. Grossberg’s employment.

Upon information and belief, Defendant Carlson is a resident of the State of New York.

       23.     Defendant David Clark is a Senior Vice President, Weekend News and

Programming at Fox News. At all relevant times, Mr. Clark has been an agent of Fox News, and

has had authority to make decisions impacting Ms. Grossberg’s employment. Upon information

and belief, Defendant Clark is a resident of the State of New York.

       24.     Defendant Ralph Giordano is a Vice President of News Coverage at Fox Business

Network, another television channel owned by Fox Corporation. At all relevant times, Mr.



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Giordano has been an agent of Fox News, and has had the authority to make decisions regarding

Ms. Grossberg’s employment. Upon information and belief, Defendant Giordano is a resident of

the State of New York.

        25.      Defendant Justin Wells is a Senior Executive Producer and Vice President of TCT

and Tucker Carlson Digital Products, an entity that, among other things, produces documentaries

and other content created by Mr. Carlson. It has been reported that “[Mr.] Wells, as a gay man,

only emboldens Carlson further. He gives him permission to launch the ugly attacks and helps

Carlson validate, for himself (and likely for executives at Fox News), the vitriol he espouses. That

makes Justin Wells’ presence as the powerful gay man behind Tucker Carlson all the more

newsworthy. And all the more dangerous.” 5 At all relevant times, Mr. Wells has been an agent

of Fox News, and has had the authority to make decisions impacting Ms. Grossberg’s employment.

Upon information and belief, Defendant Wells is a resident of the State of New York.

        26.      Defendant Thomas Fox is a Senior Producer for Tucker Carlson Tonight. At all

relevant times, Mr. Fox has been an agent of Fox News, and has had the authority to make

decisions regarding Ms. Grossberg’s employment. Upon information and belief, Defendant Fox

is a resident of the State of New York.

        27.      Defendant Alexander McCaskill is a Managing Editor and Senior Producer for

Tucker Carlson Tonight. At all relevant times, Mr. McCaskill has been an agent of Fox News, and

has had authority to make decisions regarding Ms. Grossberg’s employment. Upon information

and belief, Defendant McCaskill is a resident of the City of New York.




        5
          Michaelangelo Signorile, THE SIGNORILE REPORT, The Powerful gay man behind Tucker Carlson’s
Bloodcurdling Hate, November 29, 2022, available at https://signorile.substack.com/p/the-powerful-gay-man-
behind-tucker (last accessed on March 20, 2023).

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       28.     Defendant Lesley West is a Senior Vice President, Legal & Business Affairs of Fox

News. At all relevant times, Ms. West has been an agent of Fox News, and has had authority to

make decisions regarding Ms. Grossberg’s employment. Upon information and belief, Defendant

West is a resident of the State of New York.

                                   STATEMENT OF FACTS

I.     The Misogynistic Culture Entrenched at Fox News Has Led to the Abuse,
       Harassment, and Silencing of Countless Women Who Have Worked There, and Ms.
       Grossberg Is Simply the Latest Victim

       29.     The information set forth in this section is alleged upon information and belief and

based on reports from reputable news agencies and recently filed lawsuits against Fox News.

       30.     Despite having to pay out hundreds of millions of dollars in settlements related to

claims of sex discrimination, Fox News has persistently, to this day, been plagued with vivid

examples of blatant sexual harassment and gender discrimination – two terms that have become

deeply stitched into the fabric of Fox News’s workplace culture — that permeates the airwaves,

with little to no remediation. Historically, when women have exercised their legal right to demand

a workplace free of harassment and retaliation, Fox News has conducted sham investigations to

cover up the wrongdoing of powerful men, including Mr. Carlson, and his predecessor, Bill

O’Reilly. Here are just some of the examples from recent years:

       31.     2004: Fox News’s then-top-rated host Bill O’Reilly purportedly settled a sexual

harassment claim from former producer Andrea Mackris. After Ms. Mackris complained about

his conduct, Fox News and Mr. O’Reilly filed a lawsuit against her for extortion. She countersued,

alleging that Mr. O’Reilly made unwanted sexual advances and lewd comments in a series of

phone calls and dinner conversations. Mr. O’Reilly and/or Fox News reportedly paid Ms. Mackris

$9 million to settle her claims.



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       32.     2007: Fox News correspondent Catherine Herridge made several complaints to

senior executives regarding employment practices she believed were discriminatory based on

gender and age. Fox News executive Dianne Brandi purportedly investigated these claims but

later notified Ms. Herridge that no evidence of discrimination was found. When Ms. Herridge’s

employment contract was up for renewal in 2008, Ms. Brandi allegedly attempted to include new

language in the contract that would preclude Ms. Herridge from bringing a discrimination

complaint in the future. As a result of Fox News’s refusal to provide Ms. Herridge with a new

employment contract that excluded the unlawfully retaliatory language, the Equal Employment

Opportunity Commission (“EEOC”) filed a lawsuit against Fox for unlawful retaliation.

       33.     2011: Rebecca Gomez Diamond, a former host on the Fox Business Network,

allegedly received a settlement payment from Mr. O’Reilly after she bought sexual harassment

claims against him. Ms. Gomez Diamond reportedly had sexually explicit recordings of Mr.

O’Reilly.

       34.     2014: Gabriel Sherman released his biography of the former Chairman and CEO of

Fox News, Roger Ailes, which included an interview with a female Producer named Randi

Harrison who claimed that Mr. Ailes offered her a $400-a-week job at NBC for quid pro quo sex:

“If you agree to have sex with me whenever I want, I will add an extra hundred dollars a week.”

       35.     2015: Three female makeup artists at Fox News, Lena Jemmott, Hilda Correa-

LaPolla, and Maureen Walsh, filed a complaint with the EEOC in which they accused Fox News

of discriminating against them based on their gender.

       36.     July 2016: Former Fox News anchor Gretchen Carlson sued Mr. Ailes, accusing

him of sexual harassment. Ms. Carlson’s charges, which included the accusation that Mr. Ailes

tried to use his stature at Fox News to cajole her into a sexual relationship, spurred several similar



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allegations against Mr. Ailes. 21st Century Fox reportedly spent $20 million to settle with Ms.

Carlson, and Fox News publicly apologized “for the fact that Gretchen was not treated with the

respect and dignity that she and all of our colleagues deserve.”

       37.     July 2016: Former Fox News reporter Rudi Bakhtiar claimed that she was fired by

Mr. Ailes after she told him that she had been sexually harassed in the past by the company’s

incoming Washington D.C. bureau chief Brian Wilson. An arbitrator reportedly held in favor of

Ms. Bakhtiar and directed Fox News to pay Ms. Bakhtiar damages as well as her legal fees.

       38.     July 2016: Mr. Sherman interviewed several more women who alleged that Mr.

Ailes sexually harassed them, including former Republican National Committee field adviser

Kellie Boyle, who said that Mr. Ailes propositioned her in 1989, and Marsha Callahan, a former

fashion model, who said Mr. Ailes sexually harassed her in the late 1960’s.

       39.     July 2016: After approximately two dozen female employees at Fox News accused

Mr. Ailes of sexual harassment and/or retaliation, Mr. Ailes was finally forced to resign. However,

in former Fox Corporation’s CEO Rupert Murdoch’s public statement regarding Mr. Ailes’s

resignation, he thanked Mr. Ailes for his “remarkable contribution” to the network, disregarding

the pain and suffering he caused his many victims. Indeed, Mr. Ailes allegedly received $40

million from Fox News in connection with his departure and remained a consultant until his

passing in 2017. Thereafter, rather than clean house, Mr. Murdoch retained Mr. Ailes’s two most

loyal lieutenants – Bill Shine and Suzanne Scott – who actively condoned, perpetuated, and

covered up the rampant incidents of sexual harassment and sexual assault at Fox News.

       40.     July 2016: Former Fox News Director of Booking Laurie Luhn told New York

Magazine that Mr. Ailes “psychologically tortured” her for twenty years by coercing her to provide

him with sexual favors in exchange for career advancement opportunities. Even though Ms. Luhn



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allegedly signed a $3.15 million settlement agreement with Fox News that included very strict

nondisclosure provisions, she nevertheless went public with her story.

       41.     August 2016: Former Fox News Host Laurie Dhue claimed she was sexually

harassed by Mr. Ailes, alleging that Mr. Ailes asked her if she was wearing underwear while she

was jumping on a trampoline with his son.

       42.     August 2016: Fox News Host Andrea Tantaros filed a lawsuit against Fox News,

Mr. Ailes, and several other senior executives, including Ms. Scott. Ms. Tantaros accused Fox

News of retaliating against her after she complained of sexual harassment.

       43.     September 2016: Fox News promoted Mr. Shine to Co-President even after he was

accused in multiple lawsuits of covering up incidents of sexual harassment at Fox News by

routinely dismissing the concerns of the women who complained about the unlawful conduct. Mr.

Shine, described as Mr. Ailes’s “foot soldier,” “right-hand man,” and “unofficial policeman,”

reportedly shared the same sexist attitudes as Mr. Ailes, and once publicly praised TV personality

Elisabeth Hasselbeck for projecting the image “that after the show, Elisabeth’s going home and

she is changing a couple of diapers” instead of “writing books and doing book tours.”

       44.     November 2016: Former Fox News Anchor Megyn Kelly released her memoir,

Settle for More, in which she alleged that Mr. Ailes sexually harassed her during her time at Fox

News. Mr. O’Reilly publicly belittled and dismissed Ms. Kelly’s allegations regarding Mr. Ailes.

Ms. Kelly later emailed Fox News executives to report that Mr. O’Reilly was intimidating female

victims who have the right to come forward. In response, Mr. Shine apparently promised to talk

to Mr. O’Reilly, but Mr. O’Reilly later announced on his show, The O’Reilly Factor, that “women

[at Fox News] should not complain about sexual harassment because it undermines their

employer.”



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       45.     December 2016: Fox 5 Reporter, Lidija Ujkic (known as Lidia Curunaj), filed a

gender-based discrimination and hostile work environment suit against 21st Century Fox, Fox

Entertainment Group LLC, Fox Television Studios LLC, and News Director Byron Harman. Her

allegations included reports that Mr. Ailes had sexually harassed her.

       46.     January 2017: Reports emerged that 21st Century Fox executives had settled

claims brought by longtime broadcaster, Juliet Huddy, who had come forward with similar sexual

harassment accusations against Mr. O’Reilly.

       47.     January 2017: Ms. Correa-LaPolla and Ms. Maureen Walsh filed a lawsuit against

Fox News, alleging that they were discriminatorily and retaliatorily fired after complaining about

the troubling “locker room” climate at the company in which where women were objectified and

made to feel that they were “only to be seen and not heard.”

       48.     February 2017: Fox News gave Mr. O’Reilly a four-year extension on his contract,

agreeing to pay him $25 million per year, and vowing to stand by him through thick and thin even

though the company knew, and had contributed to, at least six settlements with Mr. O’Reilly’s

alleged victims of sexual harassment — including one for $32 million dollars.

       49.     April 2017: Former Fox News Political Commentator Julie Roginsky filed a

lawsuit claiming Mr. Ailes sexually harassed her while promising her a big promotion. Ms.

Roginsky also alleged that after Ms. Carlson filed her lawsuit, Ms. Scott sought to recruit Fox

News employees and contributors to retaliate against Ms. Carlson by publicly disparaging her and

supporting “Team Roger.”

       50.     April 2017: Dr. Wendy Walsh (a psychologist and radio tv personality), Perquita

Burgess (a Fox News clerical worker), and Dr. Caroline Heldman (an Associate Professor of

Politics and political commentator) came forward with detailed allegations of sexual harassment



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against Mr. O’Reilly. Mr. O’Reilly subsequently resigned but is believed to have received a payout

of approximately $25 million. Ultimately, Fox News released the following statement regarding

Mr. O’Reilly: “After a thorough and careful review of the allegations, the company and Bill

O’Reilly have agreed that Bill O’Reilly will not be returning to the Fox News Channel.” In place

of The O’Reilly Factor, Fox News moved Tucker Carlson Tonight to the coveted primetime 8:00

PM slot.

       51.     April 2017: Ms. Tantaros filed a second lawsuit against Fox News alleging illegal

electronic surveillance and online harassment.

       52.     May 2017: Reporter Diana Falzone sued Fox News claiming discrimination based

on gender and disability. Her case was reportedly settled for an undisclosed amount. As a

condition of the settlement, Fox News required Ms. Falzone to sign an NDA preventing her from

disclosing information about her time at Fox News — including a story she had written about then-

Presidential candidate Donald Trump’s sexual relationship with Stephanie Clifford (a.k.a. Stormy

Daniels), which Ms. Falzone’s bosses told her to not publish. Ms. Falzone was later called to

testify in front of the House Oversight Committee investigating whether Fox News had suppressed

negative stories about Mr. Trump before the 2016 presidential election.

       53.     May 2017: Ms. Scott replaced Mr. Shine as CEO of Fox News and Fox Business

Network, despite being identified in numerous sexual harassment lawsuits as having silenced

female employees at Fox News who complained about sexual harassment and other gender-based

discrimination and retaliation. Specifically, it is reported that Ms. Scott retaliated against women

who made sexual harassment complaints and enabled the hostile and demeaning work environment

for female talent. National Public Radio (“NPR”) reported that a Fox News staffer said that Ms.

Scott was “worse than Shine” in deflecting concerns of women.



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         54.   July-September 2017: Host of Fox Business Channel’s Making Money program

Charles Payne was accused of sexual harassment and sexual assault but remained on the airwaves

following a brief suspension after he was purportedly cleared by an internal investigation.

         55.   September 2017: Eric Bolling, host of Fox News Specialists, was fired after

sending unsolicited photos of male genitalia to female colleagues. Rather than condemn his

actions, Fox News released this statement: “Eric Bolling and Fox have agreed to part ways

amicably. We thank Eric for his ten years of service to our loyal viewers and wish him the best of

luck.”

         56.   October 2017: Reports emerged that Mr. O’Reilly paid former Fox News legal

analyst Lis Wiehl $32 million dollars to settle her claims of sexual harassment against him. Ms.

Kelly publicly declared that Mr. O’Reilly was making false assertions related to the complaints

against him, and that Fox News executives continued to retaliate against women for reporting

sexual harassment and discrimination. Specifically, Ms. Kelly said: “This must stop, the abuse

of women, the shaming of them, the threatening, the retaliation, the silencing of them after the

fact — it has to stop.”

         57.   November 2017: 21st Century Fox reached a $90 million dollar settlement in a

shareholder derivative action arising from claims that the company had allowed pervasive racial

and sexual harassment in the workplace, which resulted in reputational and financial harm to the

corporation.

         58.   December 2017: Rupert Murdoch, former Chairman and CEO of Fox Corporation,

casually dismissed all sexual harassment allegations at Fox News as “nonsense. . . [and] largely

political because we are conservative,” even though many of the female victims also identified as

politically conservative. Mr. Murdoch also claimed that the allegations against Mr. Ailes were



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“isolated incidents” and that “there has been nothing else” since his ouster. Contemporaneously,

approximately ten former and current Fox News employees told The Huffington Post that Mr.

Murdoch’s comment was a blatant lie: “I have had to put up with a hostile work environment for

years, and now I’m told that it doesn’t exist by a man who doesn’t have to walk these halls every

day?”

        59.     March 2019: An audio clip of Mr. Carlson emerged in which he says: (a) arranged

marriages between adults and children are not “the same thing exactly as pulling a child from a

bus stop and sexually assaulting that child.... The rapist in this case has made a lifelong

commitment to live and take care of the person, so it is a little different”; (b) sex workers are “slutty

and pathetic”; (c) women are “extremely primitive, they’re basic, they’re not that hard to

understand”; and (d) in response to a story about girls at his fourteen-year-old daughter’s boarding

school experimenting sexually with each other, Mr. Carlson opined: “If it weren’t my daughter, I

would love that scenario.”

        60.     Shockingly, Fox News did not order Mr. Carlson to apologize for the offensive

remarks. Rather, Mr. Carlson said on air: “Rather than express the usual ritual contrition, how

about this: I’m on television every weeknight live for an hour. If you want to know what I think,

you can watch. Anyone who disagrees with my views is welcome to come on and explain why.”

        61.     Dan Gallo, a Fox News Producer subsequently complained to Kevin Lord,

Executive Vice President and Chief Human Resources Officer, about the recordings of Mr. Carlson

defending statutory rape because he believed such vitriol created an unsafe workplace for female

employees. Reportedly, Mr. Gallo was later confronted by Mr. Carlson and bullied into not

pressing the matter further.     Indeed, no further investigation was conducted regarding Mr.

Carlson’s remarkably disturbing comments, nor did Fox News issue any public statement



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condemning Mr. Carlson’s remarks, while Mr. Carlson later brushed off criticism of his comments

as “bewildering.”

       62.     August 2019: Days after a 21-year-old white man killed 22 people at an El Paso,

Texas Walmart to “protest” what he called the “Hispanic invasion of Texas,” Mr. Carlson declared

on the air that white supremacy was largely a “hoax.” In response, Cristina Corbin, a Fox News

Producer, tweeted an indirect rejoinder to the prime-time star: “White supremacy is real, as

evidenced by fact.” Several hours later, Mr. Carlson reportedly called Ms. Corbin from a blocked

number and told her in front of her coworkers to: “Shut your mouth.”

       63.     December 2019: Brittany McHenry filed a lawsuit alleging sexual harassment

against her Co-Host, George Murdoch (no relation to Rupert Murdoch), after he threatened to send

her a “dick pic” over text message and told her he liked her buttocks and legs, speculating about

what it would be like to have sex with Ms. McHenry. Ms. McHenry alleged that she complained

numerous times to Fox News HR and management about this violative conduct, but no

investigation of her claims ever took place, and instead, she was excluded from work-related events

and ultimately blacklisted from appearing on Fox News.

       64.     Reportedly, Ms. Mekeel asked Ms. McHenry what she had done to “provoke”

George Murdoch as part of her subsequent “investigation.” Fox News eventually closed its

investigation and concluded that George Murdoch’s conduct did not constitute sexual harassment

because there was no “clear intent to have sex” with Ms. McHenry.              Clearly the #metoo

movement’s slogan, “Believe All Women,” had not made its way to Fox News. George Murdoch

was never disciplined by Fox News, but was given his own show on the Fox Nation streaming

service, in addition to being permitted to continue appearing as a regular guest on The Greg Gutfeld




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Show and fill-in host on The Five, decisions in which Ms. Scott reportedly had significant

involvement.

         65.   July 2020: Jennifer Eckhart, a former Associate Producer, filed a lawsuit against

Ed Henry, co-host of America’s Newsroom, and Fox News, claiming that: (a) she was sexually

harassed, sexually assaulted, and raped by Mr. Henry; and (b) after she complained to HR, she was

fired.

         66.   July 2020: Blake Neff, a senior Writer for TCT, resigned after several racist and

sexist comments that he posted on AutoAdmit (a message board notorious for vulgar and offensive

content) under the pseudonym “CharlesXII” came to light. Mr. Neff had allegedly been posting

brazenly sexist and racist comments for years, including a lengthy thread mocking a woman with

whom he was “friends” on Facebook s an “Azn mega-shrew,” which led other users on the message

board to abuse the woman for years with nearly 1,000 derogatory follow-up posts. Mr. Carlson

still called Mr. Neff a “wonderful writer” in an appearance on The Five.

         67.   While Ms. Scott publicly condemned the “horrific racist, misogynistic and

homophobic behavior,” claimed “actions such as his cannot and will not be tolerated at any time

in any part of our work force,” and said that “Tucker will be addressing this on his show,” Lachlan

Murdoch approved Mr. Carlson’s defensive remarks, which including the following statement:

“we should also point out to the ghouls now beating their chests and triumph of the destruction of

a young man that self-righteousness also has its costs.” Notably, Mr. Carlson never acknowledged

the nature of Mr. Neff’s racist and sexist online comments, nor did he explain that Mr. Neff had

been making such posts up until a week prior to when his horrific conduct came to light.

         68.   March 2021: The Pentagon’s press secretary, John F. Kirby, and several senior

members of the U.S. military, publicly condemned Mr. Carlson for a sexist segment on TCT in



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which he mocked women serving in the armed forces and ridiculed changes by the military to be

more inclusive to women. Specifically, Mr. Carlson had stated: “So we’ve got new hairstyles and

maternity flight suits — pregnant women are going to fight our wars…It’s a mockery of the U.S.

military.”

       69.     June 2021: Fox News paid a $1 million fine to the New York City Human Rights

Commission to settle claims of widespread sexual misconduct, the highest fine ever ordered by

the Commission for violations of the New York City Human Rights Law. The settlement required

Fox News to not enforce mandatory arbitration clauses related to New York City Human Rights

Law claims against its employees for four years, provide Commission-approved harassment and

bystander training, and implement (for at least two years) a policy and complaint procedure for

reporting discrimination and harassment complaints with multiple levels of review. According to

the NYCHRC’s press release, “any further violations that occur during this period will be

considered succeeding violations and additional penalties will be assessed accordingly.”

       70.     June 2022: Fox News reportedly paid $15 million to settle allegations of pay

disparity based on gender by former host Melissa Francis, who was allegedly fired after she raised

concerns. Ms. Francis had filed a complaint with New York State Department of Labor “not for

herself but for the women of the company who remain behind.”

       71.     March 2023: Plaintiff Abby Grossberg files the instant action.

       72.     The foregoing clearly establishes a widespread pattern and practice at Fox News of

supporting its male on-air talent and executives in the face of sexist, misogynistic, discriminatory,

or retaliatory conduct and comments. Thus, it is no wonder, against this backdrop, that Ms.

Grossberg’s harassers felt emboldened to mistreat her with impunity.




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II.    Ms. Grossberg is Hired by Fox News after an Already Illustrious Career in Primetime
       Journalism

       73.      Ms. Grossberg joined Fox News in 2019 with over 16 years of experience in

broadcast journalism. After graduating in 2003 from Johns Hopkins University, Ms. Grossberg

began her journalism career at CBS News, before moving to take on roles with increasing

responsibility at CNN, NBC Universal, and most recently, ABC News, where she was the producer

of World News Tonight with David Muir for three years. In this role, Ms. Grossberg pitched

original story ideas, wrote scripts, and oversaw the production and editing of news packages from

inception to air, often on a very tight deadline.

       74.     At ABC News, Ms. Grossberg worked with a wide-range of anchors,

correspondents, and senior staffers on day-of-air pieces about the latest breaking news.

Additionally, Ms. Grossberg booked guests, created graphics, and fact-checked editorial content.

She also coordinated with bureau chiefs and desk editors to launch featured pieces and mentored

junior staff regarding the research, booking, and production of such stories.

       75.     In or about March 2019, Ms. Grossberg joined Fox News as a Senior Booking

Producer for Sunday Morning Futures with Maria Bartiromo (“SMFMB”). Ms. Grossberg

immediately assumed exclusive responsibility for creating and producing the weekly live one-hour

program that was consistently rated the #1 show in cable news on Sundays.

       76.     As part of her duties, Ms. Grossberg determined editorial content and handled all

guest bookings, in collaboration with host, Maria Bartiromo. In that vein, Ms. Grossberg booked,

produced, and wrote scripts for all guest segments, and oversaw SMFMB’s control room team on

logistics, graphics, promotions, and show elements.




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        77.    Under Ms. Grossberg’s leadership, and after only three months into her tenure,

SMFMB’s ratings grew impressively by 40% – i.e., from 1.5 million on October 7, 2019, to 2.2

million on January 5, 2020.

III.    Ms. Grossberg’s Experiences a Hostile Work Environment on the Basis of Her Sex
        Almost Immediately and Observes the Persistent Attempts by Male Colleagues to
        Marginalize Ms. Bartiromo, Whom They Call (Among Other Things) “Crazy,”
        “Menopausal,” “Hysterical,” and a “Diva”

        78.    Within a mere month into her hire, Ms. Grossberg encountered systemic

chauvinism at Fox News. For example, in or about April 2019, Matt Kaulbach, a Senior Producer

on SMFMB, drunkenly scolded Ms. Grossberg during work hours for sharing too much

information with Ms. Bartiromo because – according to Mr. Kaulbach, -- Ms. Bartiromo was

“crazy,” “menopausal,” and often became “hysterical.”

        79.    Mr. Kaulbach further informed Ms. Grossberg that David Clark had instructed him,

“the less [Ms. Bartiromo] knows the better.”

        80.    When Ms. Grossberg informed Ms. Bartiromo of what Mr. Kaulbach had said, Ms.

Bartiromo responded that she believed both men were sexist, and that she did not “trust” either of

them.

        81.    Ms. Bartiromo also lamented to Ms. Grossberg that she “used to be a star,” but

since joining Fox News, had been devalued as being “past her prime” by her male colleagues and

superiors, who favored younger women.

        82.    Ms. Bartiromo stated to Ms. Grossberg that she sincerely believed that Mr. Clark

was “out to sabotage her,” which was validated by the way Mr. Clark spoke about her — i.e.,

calling her a “diva” who was “difficult” and “demanding” and who needed to be “controlled.”




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       83.     Subsequently, later that month, Mr. Kaulbach went on a leave of absence and Ms.

Grossberg assumed his responsibilities. Mr. Kaulbach returned to work a few months later, but

his parroting of the sexist rhetoric from the senior executives continued unabated.

       84.     Ultimately, Mr. Kaulbach resigned in October 2019. Ms. Grossberg, once again,

took over his editorial duties and proceeded to successfully grow SMFMB’s viewership.

       85.     In or about November 2019, shortly after Mr. Kaulbach’s rather sudden departure,

Mr. Clark called Ms. Grossberg into his office, and told her “not to worry,” because he was

searching for someone to replace Mr. Kaulbach.

       86.     Ms. Grossberg responded to Mr. Clark that he need not look further because she

wanted the job and was, in fact, already doing it successfully. Mr. Clark echoed the refrain that

Ms. Bartiromo was “crazy,” and that Ms. Grossberg was not capable of managing her.

       87.     Mr. Clark then stated, point blank, to Ms. Grossberg that Mr. Kaulbach’s position

needed to be filled by someone “like [Mr. Kaulbach]” – i.e., a man.

       88.     Days later, on November 13, 2019, Mr. Clark, in front of various staffers, including

Ms. Grossberg, again proclaimed that the position vacated by Mr. Kaulbach with be filled by a

man. Mr. Clark asked Marc Smith, a field producer on Maria Bartiromo’s Wall Street program,

whether he was interested in the position, or knew of anyone who may be interested , while looking

right in Ms. Grossberg’s direction.

       89.     Ms. Grossberg felt humiliated and demoralized to be so obviously disregarded and

dismissed by Mr. Clark, as he offered the position to someone with less experience and lower

ranking than her.




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       90.     On or about November 15, 2019, Ms. Grossberg informed Ms. Bartiromo that she

believed she was being passed over for the position previously held by Mr. Kaulbach – a position

she was presently performing in Mr. Kaulbach’s absence – simply because of her gender.

       91.     When Ms. Grossberg elaborated to Ms. Bartiromo that she felt embarrassed and

humiliated that the position was shopped around to men, Ms. Bartiromo explained that it was

because Mr. Clark did not like that “two strong women” were being credited with SMFMB’s

success.

       92.     Specifically, Ms. Bartiromo told Ms. Grossberg that Mr. Clark was jealous that Ms.

Bartiromo and Ms. Grossberg had hit it off so well and were working together as a team.

       93.     The sexist tropes against Ms. Bartiromo continued when, on December 12, 2021,

her first day back in the Control Room after working from home due to the COVID-19 pandemic,

Ms. Grossberg witnessed David Hoffman, a Weekend Show Director for Fox News, call Ms.

Bartiromo a “crazy bitch” before telling Ms. Grossberg that she should have “stayed home in [her]

fancy house and expensive slippers just like Maria [Bartiromo].”

       94.       In other words, according to Mr. Hoffman, a woman’s place is in the home, albeit

with slippers on and not just barefoot.

IV.    Fox News Discriminates Against Ms. Grossberg Because of Her Sex by Failing to Hire
       Support Staff for, or Provide Resources to, Her Commensurate with Her Similarly
       Situated Male Colleagues at Shows Starring Men

       95.     Ultimately, as the only Fox News employee assigned to work exclusively on

Sunday Morning Futures with Maria Bartiromo, Ms. Grossberg performed the functions of her

own job, as well as that of an Executive Producer, but was never given an appropriate title or pay

increase, despite making these requests repeatedly (from 2021 to 2023) to Ms. Bartiromo and

Lauren Petterson, President of Fox Business & Talent.



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       96.      During this time, Ms. Grossberg also made numerous requests to Ms. Bartiromo

and Ms. Petterson for additional support staff, but these requests were never fulfilled.

       97.     In September 2021, Ms. Bartiromo echoed Ms. Grossberg’s concern that they

have “no god damn help.” Ms. Bartiromo continued via text: “It’s ridiculous that we do not have

a PA [Production Assistant]. I’m sick & tired of this. I have to be in NYC at 1130 & I threw

myself into a pretzel to make sure SMF was excellent & time and time again we are working

overtime trying to make th[i]s show excellent w no god damn help. One issue [i]s that they do not

understand what we are doing [a]nd how much work it is.” Ms. Grossberg responded that the two

women “need someone to handle the little things that eat up a lot of time. Like sitting on the phone

with a car company, or ordering a transcript. I’m clearly not above doing anything, but it’s

ridiculous.” Ms. Bartiromo indicated that Chris Wallace and Jesse Watters had more dedicated

employees on their shows, before stating: “…I need [L]auren [Petterson] or [S]uzanne [Scott]

to give us a PA. I sent it to [J]erry [Andrews] to try and give him a chance to look useful. I also

sent it to my agent. He will demand [S]uzanne [Scott] take action.”

       98.     On October 13, 2021, Ms. Grossberg again reiterated to Ms. Bartiromo that she

needed more support, “realistically [I] don’t have the bandwidth. Editing a piece can take an entire

day and it’s just me + everything else.” Ms. Bartiromo responded, “I just emailed everyone. We

need to get on this ASAP. We need help & we need to ask for it now. You a[r]e on the email w

[L]auren [Petterson,] Jerry[Andrews] and Patrick [Ignozzi].”

       99.      Later that day, Fox News posted a job opening for an Executive Producer of

SMFMB — the job that Ms. Grossberg was already single-handedly doing without the title — and

not for a Production Assistant which the show desperately needed. To Ms. Grossberg’s dismay,




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Fox News executives then began sending prospective candidates, all of whom were male, to Ms.

Bartiromo’s personal assistants to vet.

         100.   On November 11, 2021, Ms. Grossberg met with Ms. Petterson and inquired as to

why she was not being considered for the Executive Producer role.

         101.   In this meeting, Ms. Grossberg highlighted her attributes: (a) she got along well

with Ms. Bartiromo: (b) she had already earned Ms. Bartiromo’s trust; and (c) most importantly,

the show’s ratings were stellar despite her having to produce the show with almost no support

staff.

         102.   In response, Ms. Petterson inexplicably attacked Ms. Grossberg without warning

by stating: “everyone hates you, anytime your name comes up awful, disgusting and horrible

things are said about you.”

         103.   Feeling blindsided, Ms. Grossberg asked for specifics, but Ms. Petterson declined

to provide any, suggesting that Ms. Petterson was actually taking issue with Ms. Grossberg’s

decision to speak up about why she was being overlooked for the Executive Producer role. Ms.

Grossberg then asked Ms. Petterson whether the choice not to hire Ms. Grossberg for the vacant

Executive Producer role was performance-based, and Ms. Petterson answered in the negative,

affirming that “there’s no denying you’re talented,” but it was just that Fox News needed someone

who can “manage” Ms. Bartiromo, whatever that was supposed to mean.

         104.   Curiously, Ms. Petterson then instructed Ms. Grossberg to seek out Ralph

Giordano, Vice President of News Coverage at Fox Business Network, as a “mentor” (although

Ms. Grossberg was not affiliated even with Fox Business Network) so Ms. Grossberg could gain

more insight about the Executive Producer position.




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       105.    On November 19, 2021, Ms. Grossberg met with Mr. Giordano, but the meeting

quickly turned into an intimidating and harassing opportunity for the male senior executive to

heckle and manipulate Ms. Grossberg.

       106.    Mr. Giordano admitted that SMFMB needed an Executive Producer, but

chauvinistically stated the position “requires a lot” and that Ms. Grossberg “didn’t understand the

half of it.” Mr. Giordano then stated that Ms. Bartiromo was a “very difficult talent” whom he

did “not like at all” because Ms. Bartiromo was “disgusting and difficult to manage.”

       107.    During this conversation, Mr. Giordano strongly implied to Ms. Grossberg that

because everyone hated Ms. Bartiromo, they would all soon hate Ms. Grossberg as well by

association.

       108.    In a non-sequitur, Mr. Giordano then brought up a lawsuit filed against Fox News

by a company called Dominion Voting Systems alleging that Fox News defamed it by parroting

baseless allegations about its voting machines and software allegedly being rigged against

President Trump. Mr. Giordano baselessly accused Ms. Grossberg of failing to air a full-screen

disclaimer about Dominion’s denial that its voting system had changed votes in the 2020 election,

clearly setting it up so that Ms. Grossberg “takes the fall” for Fox News’s improper and seemingly

defamatory conduct.

       109.    Even though Ms. Grossberg repeatedly assured Mr. Giordano that she had, in fact,

run such a disclaimer, Mr. Giordano kept insisting that the Dominion lawsuit was the fault of Ms.

Grossberg’s “inability to manage a diva” – i.e., to control Ms. Bartiromo. What Mr. Giordano

conveniently left out was how it was the higher ups in the network who approved baseless

statements against Dominion to air repeatedly on Fox News to perpetuate the lie that President

Trump had the election fraudulently stolen from him so that the Network pandered to Trump



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supporters/viewers. Subsequently, Mr. Giordano then used his position of power to coerce Ms.

Grossberg into spying on Ms. Bartiromo. Specifically, Mr. Giordano told Ms. Grossberg that he

was “willing to give … [her] a chance” and that she could think of this “as a clean start” as long

as Ms. Grossberg reported back to him what Ms. Bartiromo was doing.

       110.       Indeed, Ms. Grossberg began attending the Friday morning meetings that Mr.

Giordano, who was supposed to be her “mentor” in helping her advance at the Network, ran for

Fox Business staffers, in which she had to disclose guests booked and anticipated editorial

commentary for the Sunday show. Ms. Grossberg was the only Fox News staffer in attendance at

these meetings.

       111.    Notwithstanding the foregoing, Ms. Grossberg was never given the Executive

Producer title for SMFMB even though this was clearly her role on the show.

       112.    In May 2022, Ms. Bartiromo sent a text message to Ms. Grossberg saying:

“Amazing show Abby. I am fighting for you and us, so we get the respect we deserve. I am on

it. Do not worry.” Ms. Grossberg responded by lamenting the fact that they were so short staffed,

and reiterating her belief that the understaffing both hurt the show and caused her unnecessary

anxiety and stress that was detrimental to her health.

       113.    During this period, Ms. Grossberg’s mental health was only made worse by her

realization that, unlike certain of her male counterparts – e.g., Christopher Faulkner, a Floating

Producer – she was not given any time off by Fox News.

       114.    For example, on March 4, 2022, Ms. Grossberg called Jerry Andrews to inform him

that her father was in the ICU after brain surgery and that she was too distraught to produce that

day’s show from her father’s bedside. Mr. Andrews’s callously responded that unless she was




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able to get someone to cover for her, Ms. Grossberg had to do the work regardless of her

circumstances.

V.     Ms. Grossberg Witnesses the Same Sex-Based Inequality that Waylaid Her Career at
       the Highest Levels of Fox News, Where Male Anchors, Like Bret Baier and Chris
       Wallace, Were Revered on Pedestals as “Credible,” While Female Anchors like Ms.
       Bartiromo and Judge Jeanine Pirro Were Castigated as “Crazy” or “Hysterical”

       115.      Upon information and belief, Fox News male executives (and Ms. Scott) have

engaged in a pattern and/or practice of disparate treatment that favored male anchors, as well as

their shows and staffs, more so than female anchors and their colleagues and endeavors.

       116.      For example, Fox News shows with male anchors would often lift portions of

interviews booked by Ms. Grossberg and conducted by Ms. Bartiromo without providing proper

onscreen or verbal credit to SMFMB for breaking those key stories.

       117.      This demeaning disparate treatment belittled Ms. Bartiromo’s and Ms. Grossberg’s

hard work and effectively hijacked Ms. Bartiromo’s reporting and Ms. Grossberg’s production

efforts for the benefit of their male colleagues.

       118.      Ms. Grossberg was frequently restrained by her direct boss, Mr. Clark, who retained

ultimate authority over what guests appeared on SMFMB. Mr. Clark frequently communicated

with the higher-ups which guests the Company can and cannot go on the airwaves. For example,

on November 18, 2019, Mr. Clark told Ms. Grossberg to hold off on booking John Solomon, whose

reporting was being “investigated,” until he could better understand how the situation “play[ed]

out.” Then again on November 7, 2020, Ms. Grossberg asked if the show should keep bringing

Rudy Giuliani on as a guest, to which Mr. Clark replied, “yes.” Mr. Clark’s only concern was that

Rudy Giuliani might criticize Fox News for what he alleged was the premature calling of the

electoral votes of the state of Arizona as having went to Joe Biden, not about any alleged fraud

committed by entities like Dominion who were involved in the voting process.

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       119.    Ms. Bartiromo, however, considered Mr. Clark a “liar,” and believed his priority

was “to sabotage” her SMFMB show. As such, she cautioned Ms. Grossberg that, as two women,

they “cannot get bullied by him” and should “stick together like a steel wall.”

       120.    For example, in late November 2020, Ms. Bartiromo secured President Trump’s

first interview after he lost the 2020 election. Afterwards, Mr. Clark called Ms. Grossberg to tell

her, dismissively, that “POTUS was just a space filler on a holiday weekend.” Ms. Grossberg felt

that this was, yet another instance of Mr. Clark belittling her and Ms. Bartiromo’s efforts.

       121.    Simultaneously, other male colleagues, including Mr. Faulkner, asked Ms.

Grossberg how Ms. Bartiromo was able to secure an interview with President Trump, and

questioned aloud why President Trump wouldn’t go somewhere like “Hannity” – i.e., a show

hosted by a male anchor.

       122.    Similarly, when conservative activist Charlie Kirk revealed the name of the Capitol

police officer who shot and killed veteran Ashli Babbitt as she stormed the Capitol on January 6,

2021 for the first time on SMFMB, Fox News refused to post the breaking news clip on its website.

Five days later, however, Ms. Petterson sent a text message to Ms. Bartiromo so that she was “not

caught off guard,” informing her that Chad Pergram, a male Senior Correspondent, would break

the story and identify the officer’s name on Fox News.

       123.    Also in early January 2021, Ms. Scott released Fox News’s plans for an updated

television lineup, including a new opinion program in the 7:00pm slot entitled Fox News

Primetime, which featured a rotating group of hosts until a permanent host was selected. Ms.

Bartiromo auditioned as the host on January 25-28, 2021, and again on March 15-19, 2021.

       124.    When she was not chosen for the permanent host spot, Ms. Bartiromo confided in

Ms. Grossberg that the “higher-ups” wanted Ms. Bartiromo to be a “puppet” and that she was



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being “set up to fail.” Even though Ms. Petterson told Ms. Bartiromo that she was their top choice

for the permeant host role, a man, Jesse Watters, was chosen instead.

       125.    In late 2021, Congressman Kevin McCarthy had an in-person meeting with the

Executive Producer for Bret Baier’s show, who, upon information and belief, said to Congressman

McCarthy that Ms. Bartiromo was “not as credible as male anchors” and that “[McCarthy’s]

decision to appear on SMFMB was not a smart move politically.”

       126.    Ms. Bartiromo later voiced her concerns to Ms. Petterson about being undermined

and “cut down” by certain male colleagues, as well as the unequal treatment she received from

Fox News when she was “cut out” of a promotion that showcased two of her male anchor

colleagues – Mr. Baier and Mr. Wallace. In that same conversation, Ms. Bartiromo complained

to Ms. Petterson about the misogyny and bullying that both she and Ms. Grossberg had endured

from Mr. Clark.

       127.    In or about April 2021, Mr. Clark was replaced by Mr. Andrews as Senior

Executive Producer of Fox News’s weekend news, and the misogynistic baton was simply passed

from one to the other. Mr. Andrews continued to call and berate Ms. Grossberg for sharing

information with Ms. Bartiromo, including the scheduling of a zoom call with herself and bookers

for Jesse Watters’s and Judge Jeanine Pirro’s shows.

       128.    In this conversation, Mr. Andrews stated that both Ms. Bartiromo and Ms. Pirro

were “crazy,” and he didn’t want them joining the call. No such disparaging remarks about or

desire to exclude Mr. Watters (the male host) were ever expressed to Ms. Grossberg.

       129.    On September 28, 2021, after receiving an email from Mr. Andrews that rudely and

incorrectly blamed Ms. Grossberg for an error involving a guest, Ms. Bartiromo addressed the

“elephant in the room” with Mr. Andrews himself over text: “Jerry we never hear from you unless



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you want to nitpick. We never hear from you when we are #1 the whole weekend, not a word

when we came back from the border on a Saturday & out awhile package together w fresh video

& wet on air the next day for su[n]day But we hear fro[m] You when you want to yell at Abby for

the branding of a guest?!”

       130.    On January 25, 2022, Mr. Andrews called Ms. Grossberg and requested that she

spy on and document Ms. Bartiromo’s actions and report back to him so that “Lauren [Petterson]

can get out in front of it.” In February 2022, Mr. Andrews reiterated his directive to Ms. Grossberg

to “keep an eye” on Ms. Bartiromo and report back anything “crazy” that she said.

       131.    The constant pressure on Ms. Grossberg from her male colleagues and supervisors

to alienate her from Ms. Bartiromo took its toll. On February 11, 2022, Ms. Bartiromo sent a text

message to Ms. Grossberg stating: “would you like to tell me what is wrong & why you constantly

disagree with me on everything lately. ... You keep disagreeing w me on everything & not

answering me when you do not like ideas. if you do not want to work w me for some reason, you

need to explain it to me... It is ME who has been your biggest supporter i think for some reason

you may have forgotten that.”

VI.    To Thrust Exposure for Its Wrongdoing Away From Fox Corporation and onto
       Others, Fox News’s Legal Team Coerces Ms. Grossberg to Distort the Truth and
       Shade Her Deposition Testimony Against Her Personal and Professional Best
       Interests in the Dominion Litigation

       132.    Against this backdrop, in the Spring of 2022, Ms. Grossberg was told that she would

be deposed in connection with the $1.6 billion defamation lawsuit filed by Dominion Voting

Systems Corp. against Fox News and certain individuals, including Ms. Bartiromo. In particular,

the Dominion complaint alleges that Fox News had “intentionally provided a platform for guests

that Fox’s hosts knew would make false and defamatory statements of fact on the air.” Complaint




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at ¶95, U.S. Dominion, Inc. v. Fox News Network, LLC (Del. Super., 2021) (CV N21C-03-257

EMD) (emphasis added).

       133.    As to Ms. Bartiromo’s role, the Dominion complaint alleges that: “[o]n November

7, 2020, Fox projected that President Trump had lost the 2020 U.S. Presidential Election. By the

next morning — November 8 — Fox began connecting Dominion with the false election fraud

narrative. Specifically, Fox and Maria Bartiromo invited Sidney Powell on the Sunday Morning

Futures show. Powell declared that there was ‘a massive and coordinated effort to steal this

election from We the People of the United States of America, to delegitimize and destroy votes

for Donald Trump, to manufacture votes for Joe Biden.’ [***] Bartiromo knew at the time these

claims were false, or recklessly disregarded the truth. Indeed, Bartiromo had previously reported

in October that President Trump’s lead would fade not because of fraud but because mail-in and

absentee ballots would be counted later than in-person ballots.” Dominion Complaint at ¶¶23-24.

       134.    On August 10, 2022, Ms. Grossberg sat for her first day of deposition preparation

with a team of Fox attorneys, including Steve Potenza, Fox News Deputy General Counsel, and

Lesley West, Senior Vice President, Legal & Business Affairs, as well as two outside attorneys,

Paul Salvaty and Sean Suber, of Winston & Strawn LLP.

       135.    Before they began, Ms. Grossberg asked whether she needed to hire her own

counsel. Without hesitation – i.e., before anyone could explore the potential mine field of conflicts

inherent in this situation – Mr. Salvaty responded to Ms. Grossberg with a definitive and

discouraging “no,” explaining that while some employees (referring specifically to Steve Doocy

and his personal attorney as an example) may have retained a personal attorney, it only

“complicates” the process and “slows things down.” Ms. West later added that it was “distracting.”




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       136.    Ms. Grossberg left the lengthy prep session with the distinct impression that she

had to answer questions as concisely as possible or else become Dominion’s “star” witness.

       137.    Based on Fox News’s legal team’s behavior and actions, including Mr. Potenza’s

and Ms. West’s scowls at Ms. Grossberg and their emphatical head shakes “no,” shook their heads.

whenever Ms. Grossberg answered hypothetical questions in a manner that was truthful but

implicated others or needed elaboration to explain and/or put into context, Ms. Grossberg

understood that she needed to avoid problematic questions or say something equivocal for Fox

News to continue to “have her back.”

       138.    Ms. Grossberg also understood and got the impression based on Fox News’s legal

team’s behavior that she could not mention or allude to how SMFMB was severely under-staffed

and whether she or Ms. Bartiromo were overworked or ever felt stressed or overwhelmed.

       139.    Ms. Grossberg also left the deposition preparation sessions with the distinct

impression and understanding that it was in her clear best interests to respond to questions with

the generic, “I do not recall” whenever she had the opportunity.

       140.    Ms. Grossberg left the deposition preparation sessions without knowing that by

giving such false/misleading and evasive answers like the ones Fox’s legal team reacted to

positively to during the prep sessions, she not only opened herself up to civil and criminal liability

for perjury, but was subtly shifting all responsibility for the alleged defamation against Dominion

onto her shoulders, and by implication, those of her trusted female colleague, Ms. Bartiromo, rather

than the mostly male higher ups at Fox News who endorsed the repeated coverage of the lies

against the Dominion.




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        141.    In reality, Fox News was well aware that both Ms. Bartiromo and Ms. Grossberg

had complained repeatedly about receiving less support and resources than shows that were hosted

by male anchors.

        142.    In fact, Fox News (and presumably its attorneys) knew that these male-anchored

shows usually had five (or more) staffers compared to SMFMB’s zero to one staffers.

        143.    However, Ms. Grossberg understood and got the impression from her prep sessions

that she could not reveal how stressful it was to put on a quality weekly news show with inadequate

support and resources, and instead, had to dodge such questions by saying something vague or

circular.

        144.    The truth was, the daily experience of being besieged as a professional woman in a

hostile, male-dominated environment in which she and Ms. Bartiromo were constantly undermined

and scapegoated had taken a devastating toll on Ms. Grossberg’s mental health given the myriad

experiences of unequal, sexist, and misogynistic treatment that were indelibly etched into her

conscience.

        145.    Ms. Grossberg also understood and got the impression based on Fox News’s legal

team conduct that she could not reveal how she was unable to read and react to all of the email

warnings Dominion sent to Fox News because she was simply stretched way too thin because of

the lack of resources Fox News gave to SMFMB and had to make it seem like she was not

performing an important part of her position. Ms. Grossberg understood and got the impression

based on Fox News’s attorneys’ behavior that she also had to downplay the relevance and

importance of ratings at the Network.




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           146.   Ms. Grossberg left the deposition prep sessions not knowing that what she was

“supposed” to say could bring an end to her career, even though Fox News’s legal team was

presumably there to represent her interests at her deposition.

           147.   Already fearful that the role of Executive Producer was almost unattainable for a

woman like her at Fox News, Ms. Grossberg convinced herself that discretion would be the better

part of valor in this instance, and decided she would follow the directions of the attorneys who

claimed they represented her best interests in connection with her deposition and kept her truth to

herself.

           148.   Ultimately, for reasons unknown to Ms. Grossberg, after her second preparatory

session concluded, her deposition, which was originally scheduled for August 12, 2022, was

postponed until September 2022.

           149.   On August 16, 2022, Ms. Grossberg was called back to meet again with Fox News’s

attorneys and had to surrender access to all her personal email and social media accounts and any

other apps containing data to them. To shake Ms. Grossberg down, Fox News’s attorneys

threatened that if Ms. Grossberg was “hiding” anything or did not want to cooperate with them,

she would have to hire her own attorney (conceivably at her own cost since she was never offered

otherwise), making it clear that the Network would not look favorably on her for such a decision.

           150.   On September 13, 2022, Ms. Grossberg had another full day of deposition

preparation, during which she was grilled by the Fox News attorneys on all her prior packaged

answers.

           151.   It was clear to Ms. Grossberg that Fox News’s attorneys were displeased with her

being too candid and forthcoming at times during her prior two prep sessions, and that the attorneys




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needed “more time” with her to make sure she got her story straight and in line with the Company’s

position.

       152.     Ms. Grossberg felt sick to her stomach with fear, uncertainty, and confusion when

she realized what her employer wanted her to do under oath and felt incredibly alone and

powerless.

       153.     On September 14, 2022, Ms. Grossberg sat for her deposition, and was examined

by Dominion’s attorney, Davida Brook, of Susman Godfrey LLP.

       154.     Towards the middle of her examination, Ms. Grossberg was presented with a text

message exchange from Mr. Carlson to an unknown person and was asked to read it aloud. The

exchange contained statements from Mr. Carlson such as “Sidney Powell is lying. Fucking

bitch[,]” and repeatedly referred to Ms. Powell as a “cunt.” Ms. Grossberg was then asked whether

what she just read made her feel “uncomfortable,” to which she responded, “no,” as she had been

conditioned.

       155.      Ms. Grossberg was then asked how she would feel if that type of language was

used by Mr. Carlson around her, or even directed towards her, and she responded – as she had been

conditioned –that she had just started working with him and had not witnessed him use such

language so she declined to speculate about how she would react.

       156.     In truth, Ms. Grossberg knew full well that Mr. Carlson was very capable of using

such disgusting language about women. She also knew how terribly she had felt every time she

had heard her prior male superiors and colleagues at Fox News spew misogynistic phrases at her

(or within her earshot) on a constant basis. Ms. Grossberg also knew, however, and was

conditioned to constantly remember that she could not do anything to jeopardize her new position,

such as becoming Dominion’s “star witness,” so she again kept quiet.



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       157.     The day after her deposition, on September 14, 2023, Mr. McCaskill asked Ms.

Grossberg about what she covered in her testimony, and she revealed that Mr. Carlson’s name had

come up, but that she protected him. Mr. McCaskill said he was happy with the answers she had

given and suggested they order the staff lunch to celebrate her defense of Mr. Carlson’s

misogynistic-laden text. Later that day, an email was sent to the whole TCT team in recognition

of “Abby Day.”

       158.     Several days later, Mr. Wells confirmed that he was the anonymous person Mr.

Carlson had been communicating with in the text message exchange that was shown to Ms.

Grossberg at her deposition.

       159.     Despite later learning that many of her male colleagues, including Mr. Wells,

had been provided copies of their deposition transcript to review and correct shortly after their

depositions, Ms. Grossberg was inexplicably not provided the opportunity to read, much less

correct and sign, the transcript of her deposition until nearly eight months after her deposition,

and even then she was not even given the full 30 days afforded to deponents under the Delaware

court’s rules to review and make corrections before depositions transcripts become final.

       160.     On January 25, 2023, Ms. Grossberg requested a copy of her deposition transcript

from Fox’s lawyers and expressed concern that – upon reflection – she was uncertain that her

testimony was fully accurate because of the intimidating and confusing “coaching” she had

received.

       161.     Ms. Grossberg explained to Fox News’s legal team that her “rights and obligations

as a witness had not been adequately explained to her,” and that she believed Fox News’s legal

team was required to provide her a copy of her transcript to review, correct (as necessary), and

sign, per Delaware Civil Procedure Rule 30, or else it becomes part of the official record.



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       162.    Fox News’s legal team acknowledged that they had her deposition transcript but

refused to tell her when she would receive it to review and correct, if necessary, nor assure her that

she would have the full allotment of time to review and correct to which she was entitled.

       163.    Weeks went by, and Fox News’s legal team continued to inexplicably withhold Ms.

Grossberg’s deposition transcript from her, even though male employees who were also deposed

already had their transcripts to review and correct.

       164.    However, on January 17, 2023, the plaintiffs in the Dominion lawsuit filed a motion

for summary judgment with the Superior Court of Delaware that cited to, among other things,

various portions of Ms. Grossberg’s deposition testimony, which Ms. Grossberg was never given

the opportunity to review and correct. Ms. Grossberg was mentioned at least 15 times and her

deposition transcript was referred to at least 11 times.

       165.    In the motion for summary judgment, Dominion alleged that Fox News hosts,

producers, and executives, including Ms. Bartiromo and Ms. Grossberg, knew Sidney Powell’s

statements about the 2020 election being “stolen” from President Trump were false or recklessly

disregarded the truth, and that they “likewise ignored the public record.” See Motion for Summary

Judgment at 117-121, U.S. Dominion, Inc. v. Fox News Network, LLC (Del. Super., 2021) (CV

N21C-03-257 EMD).

       166.    Dominion directly cited to Ms. Grossberg’s deposition transcript for the following

proposition: “Fox knew the charges were false yet failed to provide viewers with any of the

extensive evidence disproving them. […] This fits with the testimony of Bartiromo’s producer,

Abby Grossberg: ‘Q: If someone says something untrue on one of your shows, do you think it’s

important to correct it? A: No.’” Id. at 170 (citing to Ex. 121, Grossberg 243:11-14).




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         167.   This was not the testimony Ms. Grossberg wanted to give but she had been

conditioned and felt coerced to give this response that simultaneously painted her in a negative

light as a professional.

         168.   On February 16, 2023, the motion for summary judgment was published in the

media and reported on by various news outlets, including NPR News, The Atlantic, and Raw

News.

         169.   Based on the statements quoted in the motion for summary judgment attributed to

Ms. Grossberg, writers at prominent media outlets called Ms. Grossberg’s ethics as a journalist

and her professional judgment into question.

         170.   As a result, Ms. Grossberg began to experience severe anxiety and stress due to the

unsealing of her uncorrected transcript as well as wide publication of these hurtful and defamatory

statements.

         171.   The following day, February 17, 2023, Ms. Grossberg’s counsel wrote to Fox News

and its outside lawyers at Winston & Strawn LLP requesting the immediate production of Ms.

Grossberg’s deposition transcript so that she had an opportunity to review and correct it.

Inexplicably, Ms. Grossberg was still not provided with her deposition transcript for several more

weeks.

VII.     After Ms. Grossberg Leaves to Work at Tucker Carlson Tonight, She is Replaced on
         SMFMB by a Less Qualified Male Employee Who is Bestowed the Coveted Executive
         Producer Title Ms. Grossberg Had Unlawfully Been Denied Because of Her Gender

         172.   On June 21, 2022, Ms. Grossberg applied for an opening to be the Head of Booking

and a Senior Producer at Tucker Carlson Tonight.

         173.   On July 13, 2022, Ms. Grossberg interviewed with Charlie Couger, the Executive

Producer of Tucker Carlson Originals, who insultingly asked her whether she was “good at finding



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restaurants for the staff to eat and order food from.” Mr. Couger stated that the current Head

Booker, Kelly McNally, whose role she was interviewing for, was the “office mom,” and that this

was part of the job.

       174.    On July 19, 2022, after another round of interviews, Ms. Grossberg was hired by

Justin Wells, Senior Executive Producer and Vice President of Tucker Carlson Digital Products.

       175.    Mr. Wells informed Ms. Grossberg that her salary would be $145,000, which Ms.

Grossberg replied was significantly less than the typical salary for Senior Producers of primetime

shows - a minimum of $175,000 – and that candidates with her experience were more likely to

garner $200,000. Specifically, Ms. Grossberg asked Mr. Wells if the salary was competitive with

her male counterparts on the TCT team. Mr. Wells admitted that the offer was indeed lower than

comparable males’ salaries in the role and tried to appease Ms. Grossberg by promising that they

would revisit her salary in six months. They never did.

       176.    On July 20, 2022, Ms. Grossberg informed Mr. Andrews that she would be

accepting the new position due, in part, to the stress of working on SMFMB without adequate

assistance or recognition for her contributions.

       177.    Mr. Andrews then informed Ms. Grossberg that he would match the salary offered

by the Tucker Carlson Tonight team to induce her to stay with SMFMB. Ms. Grossberg declined,

reiterating that she believed it was unhealthy for her to continue working on the show, especially

given the refusal of higher-ups to give her the Executive Producer title she had deserved.

       178.    After Ms. Grossberg officially left SMFMB, on August 27, 2022, Ms. Bartiromo

wrote to Ms. Grossberg: “I am trying too hard to work without you on this show but something

happened that you are not telling me. None of this is my fault. I tried hard to get them to make




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you an EP. I resisted everyone they put in front of me. I wish you would know I wanted you to

stay.”

         179.   Tellingly, Fox News had to ultimately hire two people to replace Ms. Grossberg,

including Christopher Faulkner, a floating line producer about whom Ms. Bartiromo previously

expressed displeasure, who was immediately given the Executive Producer title.

         180.   Additionally, the Company hired a full-time booker named Emily Tubb to assist

Mr. Faulkner.

         181.   Since Ms. Grossberg’s departure from SFMMB, ratings have declined from an

average of 1.8-1.9 million viewers under her guidance, to 1.46 million viewers as of the mid-

February 2023 ratings report.

VIII.    Ms. Grossberg Continues to Suffer a Hostile Work Environment and Overt
         Discrimination Based on Her Sex Immediately After Joining Tucker Carlson Tonight

         182.    On September 5, 2022, Ms. Grossberg officially began her new role on Tucker

Carlson Tonight.

         183.   As Head of Booking, Ms. Grossberg led the team responsible for guest bookings

and used her extensive industry contacts to communicate with, pitch, and secure high-profile

guests at the center of major news stories.

         184.   Ms. Grossberg quickly learned, however, that she had merely traded in one overtly

misogynistic work environment for an even crueler one – this time, one where unprofessionalism

reigned supreme, and the staff’s distaste and disdain for women infiltrated almost every workday

decision.

         185.   In or about August 23, 2022, while Ms. Grossberg was still transitioning from her

role on Ms. Bartiromo’s show, Benno Kass, a researcher on TCT, wrote to Ms. Grossberg about

an interview Mr. Carlson wanted to do with Andrew Tate — the self-proclaimed “misogynist”

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who has described women as “intrinsically lazy,” stated there was “no such thing as an independent

female,” compared women to property, and graphically described how he would assault a woman

for accusing him of cheating.

        186.   Ms. Grossberg cautioned Mr. Kass about the sensitivity of the interview, including

the potential blowback from women’s groups, and suggested TCT at least bring in a female guest

to balance the segment.

        187.   Mr. McCaskill and Mr. Fox ignored Ms. Grossberg’s suggestions and seemed

annoyed that she was expressing her opinion about how the Network should be cautious about

airing programming that may offend women.

        188.   Instead, Mr. McCaskill and Mr. Fox chose to make fun of the young women whom

Mr. Tate is alleged to have held captive in Romania. Mr. McCaskill, who happened to be planning

a personal trip to Romania, discussed wanting to visit Mr. Tate’s compound and “hang out with

him.”

        189.   Later, in December 2022, Mr. Tate was charged with human trafficking and rape

by Romanian authorities.

        190.   On September 5, 2022, Ms. Grossberg’s first full day on the TCT team, she was

shocked to be greeted by many large and blown-up photographs of Nancy Pelosi in a plunging

bathing suit revealing her cleavage. The images were plastered onto her computer and elsewhere

throughout the office. Apparently, the “joke” was that Speaker Pelosi looked terrible in a bathing

suit.

        191.   Ms. Grossberg was mortified by what she was witnessing and began to experience

a sinking feeling in her stomach as it became apparent how pervasive the misogyny and drive to

embarrass and objectify women was among the male staff at TCT.



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        192.   The next day, Mr. Wells called Ms. Grossberg into his office, where Mr. McCaskill

was present, and asked her an uncomfortable sexual question about her former boss: “Is Maria

Bartiromo fucking Kevin McCarthy?” Shocked, Ms. Grossberg replied “No,” and quickly left the

room.

        193.   The following day, September 7, 2022, Gregory Re, TCT Investigative Producer

and Writer, sent Ms. Grossberg a series of harassing and unprofessional late-night emails regarding

a decision Ms. Grossberg had made (with Mr. McCaskill’s backing) to have a potential guest meet

with Mr. Carlson virtually rather than in person.

        194.   Mr. Re threateningly warned Ms. Grossberg as follows: “don’t subvert Tucker

going forward. Don’t deal with me either[.]”

        195.   On or about September 8, 2022, Ms. Grossberg alerted Mr. Wells and Mr.

McCaskill to Mr. Re’s inappropriate and harassing conduct. In response, the two brushed aside

her concerns while admitting that Mr. Re had harassed other staffers in the past but was hard to

replace, so they “lived with it.”

        196.   Moreover, the staff at Tucker Carlson Tonight frequently engaged in group

discussions, led by Mr. McCaskill, in which misogynistic views of women as objects to be judged

solely based on their appearance were broadcasted. Such discussions were commonplace, often

involving Andrew Carmichael, Editorial Producer, Eduardo Neret, Associate Producer, and Benno

Kass, Researcher, and were always within earshot of the female members of the staff.

        197.   In these discussions, no woman, whether she was a Republican politician or a

female staffer at Fox News, was safe from suddenly becoming the target of sexist, demeaning

comments, such as being called a “cunt.”




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       198.    On one occasion, on or about October 17, 2022, Michigan gubernatorial candidate

Tudor Dixon was scheduled to appear as a guest on TCT to discuss her campaign. Before her

arrival, a crass and sexist discussion in the newsroom ensued regarding whether Ms. Dixon or her

opponent, Governor Gretchen Whitmer, was “hotter and more fuckable.”

       199.    This “debate” was moderated by Mr. Carmichael, who made several sexist remarks

about the two woman’s appearance, and even polled the office on their views.

       200.    The same offensive discussion resurfaced when Ms. Dixon joined the show again

weeks later.

       201.    In another example of overt sexism in Ms. Grossberg’s workplace, in or about

January 1, 2023, while Republican Congresswoman Kathryn Cammack appeared on TV as she

spoke on the House Floor, Mr. McCaskill mocked her weight and appearance by stating she was

“fat like Kelly Clarkson,” to which another male employee added that “she only became a

Congresswoman because she fucked the person who had the job before her.” Such disgusting

remarks were never made about men appearing on TCT.

       202.    During yet another offensive discussion on or about December 12, 2022, at TCT,

Mr. Kass and Mr. Neret declared that women with tattoos, nose piercings, or rainbow-colored hair

were “disgusting,” should be shunned, and mused that such personal appearance choices reflected

on their “character.” Mr. McCaskill agreed.

       203.    Ironically, Mr. McCaskill himself has tattoos, and most tellingly, did not speak

spoke degradingly of men with body art.

       204.    Ms. Grossberg interjected to her male colleagues that they should still respect these

women, even if they did not find them attractive. Ms. Grossberg added that she herself had three

small tattoos, so she found the comments particularly offensive.



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        205.    To add insult to injury, Mr. McCaskill invasively asked Ms. Grossberg where her

tattoos were, and Mr. Carmichael stated he thought it was illegal for “Jews” to have tattoos.

        206.    Mr. McCaskill habitually belittled female employees of Fox News as juxtaposed to

their male counterparts in the office. For example, while discussing a promotional idea for Mr.

Carlson’s “End of Men” documentary, Mr. McCaskill remarked that the “mother’s room” — a

private office designated for Fox News employees to pump breast milk — was a “waste of space”

and should be replaced with a “room of tanning beds for the guys to tan their testicles,” a

practice Mr. Carlson recommended to viewers to boost testosterone.

        207.    Mr. Wells and Mr. McCaskill often remarked that Lexi Ciccone, a TCT Booker

who reported to Ms. Grossberg, should use her sex appeal to the TCT team’s advantage, such as

by “sleep[ing] with Elon Musk to get [an] interview” and that she could be his “next wife.” Ms.

Ciccone herself, likely feeling as if she needed to “fit in” and add commentary matching her

misogynist work environment, would respond that men “masturbated” to her.

        208.    Mr. McCaskill also mocked the appearance of Kailey Grill, a Production Assistant,

saying she looked “really rough,” to which Mr. Wells replied, “maybe it was because a guy

dumped her and if so, who cares?”

        209.    Ms. Grossberg reminded the men that Ms. Grill had just been out sick with the flu.

        210.    Not surprisingly, on October 26, 2022, less than a month and a half after starting at

TCT, Ms. Grossberg felt so anxious, depressed, and physically weak from the barrage of sexist,

chauvinistic, and sexualized comments to which she was being subjected in the office that she

called in sick at the behest of her therapist.

        211.    By this point, the toxic work dynamic had impacted her health severely, such that

she could barely eat and lost nearly 10 pounds in less than two weeks.



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        212.   Yet, while she was home sick, a junior male staffer named Tom Read sent Ms.

Grossberg an aggressive email because she had used her editorial discretion to shorten his pitch

for a story because it was too cumbersome for Mr. Carlson to review.

        213.   Mr. Read’s entitled and sexist tone only compounded Ms. Grossberg’s

anxiety. Even when she later reported this exchange to Mr. McCaskill and Mr. Fox and suggested

that the team come up with a standard pitch template for the staff to use, Mr. McCaskill refused to

adjust the process and ignored her suggestions and concerns about Mr. Read’s troubling behavior.

IX.     Ms. Grossberg Continues to Endure a Hostile Work Environment Based on of Her
        Sex, and is Further Belittled and Demeaned After Mr. McCaskill Becomes Her
        Supervisor

        214.   On or about November 21, 2022, Mr. Wells took a leave of absence and informed

Ms. Grossberg that Mr. McCaskill would serve as her direct supervisor while he was away from

work.

        215.   Mr. Wells assured Ms. Grossberg that she was still in charge of the booking team,

that she was “doing a good job,” and that “nothing would change,” except that Mr. McCaskill

would need to approve administrative matters such as business expenses and vacation requests.

        216.   However, on November 30, 2022, Ms. Grossberg was unknowingly demoted and

removed of her Senior Producer title to enable Mr. McCaskill, also a Senior Producer, to act as

Ms. Grossberg’s direct manager.

        217.   Ms. Grossberg was never directly informed of this clearly discriminatory change

but learned of it through Fox News’s WorkSpace hierarchy.

        218.   Mr. McCaskill immediately began to marginalize Ms. Grossberg’s role as Head

Booker to position himself as the new leader of the booking team.




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       219.    Upon information and belief, Mr. McCaskill and Mr. Wells conspired to demote

Ms. Grossberg de facto and surreptitiously.

       220.    Upon information and belief, Mr. McCaskill and Mr. Wells each engaged in this

conspiracy with both discriminatory and retaliatory animus on the basis of Ms. Grossberg’s sex.

       221.    On December 1, 2022, Mr. McCaskill created a text message group with Ms.

Grossberg, Ms. Ciccone, Eldad Yaron, Booking Producer, and Samantha Ottimo, Booker, in which

Mr. McCaskill began directing the booking team himself.

       222.    The next day, Mr. McCaskill added Mr. Fox to the text message group, who also

followed suit, and started directing Ms. Grossberg’s team.

       223.    From that point forward, communications involving the TCT booking team became

confusing and haphazard.

       224.    Previously, potential news stories were discussed on a Senior Producer level, and

any relevant tasks or assignments were then delegated by Ms. Grossberg to her team directly.

       225.    Moreover, the new text message group also became another forum within which

Mr. McCaskill could harass, undermine, and embarrass Ms. Grossberg in front of her team.

       226.    On December 8, 2022, Ms. Grossberg asked the group to limit the information

circulated to important matters out of concern that the group would accidentally miss something

important. Regrettably, this request was not heeded, and when Ms. Grossberg dared to ask Mr.

McCaskill a follow-up question aimed at reducing the confusion, she was ridiculed and spoken

down to in plain view of her entire team.

       227.    Even though Ms. Grossberg was excelling at her job, and was even able to secure

Congressman George Santos as a guest on the show, Mr. McCaskill baselessly accused her of




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creating “chaos” and dismissively told Ms. Grossberg to “hand off the guest” and “[p]ut in the Q.

[a]nd go on vacation … We have it from here.”

       228.    Mr. McCaskill’s constant bullying and gaslighting, including his baseless claim that

he was “hearing” that things were “unorganized” on her team, caused Ms. Grossberg so much

stress and anxiety that her stomach ulcers flared up and she was in excruciating pain and had to

miss the TCT holiday party on December 20, 2022.

       229.    On December 21, 2022, in yet another despicable display of how appallingly male

TCT staffers view and speak to women, rumors began to circulate about how Mr. Read had

approached actress Natasha Lyonne at a bar and told her that her “show sucks.”

       230.    Mr. Read then boasted without solicitation that he would have been able to sleep

with Ms. Lyonne right in front of a female TCT employee named Toni Peake, who became visibly

upset by his sexist and unwanted commentary.

       231.    Ms. Peake later confided in Ms. Grossberg that she too suffered severe anxiety, had

a massive panic attack, and was “terrified” to report to work, ostensibly due to the way women

were treated by male staff.

       232.    Ms. Grossberg also was frequently shut out of important meetings and was

unnecessarily questioned about her editorial judgment. For instance, on January 2, 2023, Ms.

Grossberg mused whether the team was planning to cover Rep. Kevin McCarthy’s bid for Speaker

of the House. Mr. Fox responded that Mr. Carlson would not be “into it.”

       233.    Three days later, Mr. Fox changed course, stating that Mr. Carlson wanted to cover

Rep. McCarthy’s bid for the Speakership, and Ms. Grossberg began reaching out to her contacts

to book him as a guest on TCT. Ms. Grossberg wrote to her team, including Mr. McCaskill: “Just




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spoke to his comms director who I know very well. They’re interested and it sounds positive. The

schedule is obviously fluid, so we will touch base again around 1p after the next round.”

        234.     Ms. Grossberg then wrote to Mr. Carlson: “My friend who will try to convince

McCarthy said he may be scared we’ll nuke him over Luntz. Is he that weak? Pushing for him to

call you. Lmk if he does.” Mr. Carlson responded, “Please tell them that I promise I won’t mention

Franks Luntz. I’ve done that repeatedly. I don’t need to do it again. This interview isn’t about

that. No one else has stepped forward to challenge McCarthy. He’s still the only option. I keep

hearing from people who know him that this process has improved him. I want to give him a

chance to make the case that it has. Feel free to screenshot this text for his office. Thanks.”

        235.     Ms. Grossberg did just that, but later informed Mr. Carlson that Rep. McCarthy is

“[…] afraid, which is ridiculous. If he can’t face you, how is he going to fight Biden and the

Dems? After 7 losses it can only help him.” Mr. Carlson replied, “He’d be a cowardly idiot not

to. Which he may be.” Mr. Carlson added: “I really hope he does it. I’ll be a little mean, because

that’s who I am. But I won’t be too mean. I want to help fix this. Please send a screenshot of this

text if it helps.”

        236.     At approximately 2:30 pm that day, Mr. McCaskill instructed Mr. Yaron to book

Rep. Matt Gaetz as a guest on TCT, without having any regard for Ms. Grossberg’s efforts at

fulfilling Mr. Carlson’s request to book Rep. McCarthy. Ms. Grossberg warned Mr. McCaskill

that booking Rep. Gaetz could jeopardize the Rep, McCarthy booking and undermine her efforts

on behalf of Mr. Carlson.

        237.     Mr. McCaskill proceeded to berate and scream at Ms. Grossberg in front of the

whole team about how she “didn’t care about telling both sides of the story” and was “bias[ed]” in




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favor of Rep. McCarthy. Mr. McCaskill then excluded Ms. Grossberg from a meeting with Mr.

Wells and Mr. Fox.

       238.    When Mr. Wells emerged from that meeting, he spitefully belittled Ms. Grossberg

by asserting that he had been working on connecting Mr. Carlson with Rep. McCarthy for two

days, and that her efforts were merely “confirming the work he had already put in.”

       239.    Mr. Wells also claimed that Mr. Carlson had been “talking on the phone with

McCarthy for days,” which was obviously untrue and meant just to gaslight Ms. Grossberg further.

       240.    However, Rep. McCarthy’s team later confirmed that Ms. Grossberg was the only

one from TCT they had spoken to about Rep. McCarthy’s appearance on the show.

X.     Ms. Grossberg is Harassed Based on Her Jewish Faith by Mr. McCaskill

       241.    In or about October 31, 2022, Mr. McCaskill put his discriminatory animus against

Ms. Grossberg based on her Jewish religion on display. Mr. McCaskill installed three large,

inflatable Christmas decorations inside the TCT booking team’s seating area – a preposterous

display that was distracting and loud – as well as one full-sized and one smaller Christmas tree.

       242.    However, anytime Ms. Grossberg tried to turn off the distracting and loud inflatable

decorations, Mr. McCaskill would contemptuously demand that the Christmas decoration be

turned back on and call her a “Scrooge” or “Grinch.”

       243.    Upon information and belief, Mr. McCaskill also hung up a sign on the smaller

Christmas tree which had been placed next to Ms. Grossberg’s desk that read, “Hannukah Bush.”

       244.    In or about December 2022, as the team discussed the upcoming Fox News

Spotlight Awards which recognized employees for their outstanding performance and

contributions, Mr. McCaskill quipped that the entirely Caucasian TCT team could never win the




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$10,000 prize for “Inclusion Ambassador of the Year,” which recognizes employees who “lead by

example in celebrating, engaging, and advocating on behalf of diverse community voices.”

       245.    Mr. McCaskill then offensively suggested that they nominate Eldad Yaron, a

Booking Producer for TCT, for the award solely because he was an “Israeli Jew,” and could use

the $10,000 to buy the team pizza for a year.

       246.    Mr. Yaron awkwardly shrugged off the idea, assuming Mr. McCaskill was not

being serious. However, Mr. McCaskill later approached Mr. Yaron and repeated his idea.

       247.    Mr. Yaron and Ms. Grossberg, who was within earshot, both grew increasingly

uncomfortable with this discussion, especially given how months earlier, Mr. McCaskill ridiculed

Mr. Yaron to other employees for taking time off to celebrate both Rosh Hashanah and Yom

Kippur because they fell on back-to-back weeks.

       248.    As the year came to an end, Ms. Grossberg bought each of her team members a gift

to thank them for their diligent work. In turn, Mr. Yaron bought a babka (a historically Jewish

sweet bread) for the office. When Mr. McCaskill learned that there was babka in the office, he

began to loudly and obnoxiously demand that the TCT booking team have “the bread made by the

Jews.” Thereafter, anytime Mr. Yaron purchased his lunch from the Jewish bakery known as

Breads Bakery, Mr. McCaskill loudly proclaimed to the TCT booking team that Mr. Yaron went

to the “Jew bakery,” and that he had gone “to see his people.”

       249.    This incredibly demeaning and offensive conduct was made even worse by the fact

that Mr. McCaskill endorsed others in the office to repeat these offensive remarks.




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V.     Ms. Grossberg Complains About Mr. McCaskill’s Unlawful Conduct Towards Her
       and, Just Hours Later, is Subjected to an Unfounded and Retaliatory Written
       Warning From Her Harasser Himself, Mr. McCaskill

       250.    On January 12, 2023, after receiving yet another hostile and demeaning text

message from Mr. McCaskill over the group text chain, Ms. Grossberg arrived at the office

distraught and found herself alone with her superior, Mr. Fox.

       251.    Ms. Grossberg took this opportunity to complain to Mr. Fox about the gender-based

harassment she had been enduring at TCT and tell him that she felt constantly gaslit and belittled

by Mr. McCaskill. Ms. Grossberg made clear that she believed Mr. McCaskill behaved in a

completely disrespectful manner towards women.

       252.    Ms. Grossberg also told Mr. Fox that she felt constantly attacked by Mr. McCaskill

and that his criticism of her in the group text was hindering her ability to do her job. Ms. Grossberg

further explained that Mr. McCaskill’s tone and offensive language used in the group text was

unacceptable, including him saying, “Am I being a dick or do I have a point here?”

       253.       Mr. Fox responded to Ms. Grossberg both dismissively and shockingly: “We’re

all under stress. This is Tucker’s tone and just the pace of the show.”

       254.       In other words, Mr. Fox was admitting that the misogynistic fish rots from the

head down – i.e., Mr. McCaskill behaved towards her in a deplorably discriminatory manner

because he was inspired, permitted, and enabled to do so by Mr. Carlson himself.

       255.       At approximately 2:45 pm that day, Mr. McCaskill arrived at the office and began

speaking closely with Mr. Fox.

       256.       Less than one hour later, at 3:26 pm, Mr. McCaskill informed Ms. Grossberg that

he was scheduling an “HR meeting” for 4:00 pm to “discuss [her] work performance as Head of

Booking.”



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       257.      Ms. Grossberg was stunned by this blatantly retaliatory action. Ms. Grossberg

was bewildered by how her protected complaints to Mr. Fox about Mr. McCaskill’s sexist conduct

seemed to only enlarge the target on her back.

       258.      As Ms. Grossberg rode the elevator to Fox News’s HR department with Mr.

Wells and Mr. McCaskill — who looked at each other and rolled their eyes — she began to feel

warm and dizzy and was experiencing a racing heartbeat.

       259.      Monica MeKeel, a Fox News HR Officer, presented Ms. Grossberg with a hastily

drafted memo filled with half-truths and warned her that “immediate improvement is required for

you to fulfill the minimum standards expected as the Head of Booking.”

       260.      During this meeting, Mr. Wells and Mr. McCaskell further berated and attacked

Ms. Grossberg. While they admitted to engaging in inappropriate and unprofessional conduct

towards her, the two men claimed they did so out of frustration at Ms. Grossberg being “inept”

and acting like a “secretary.”

       261.      Mr. Wells claimed Ms. Grossberg’s “instincts and news judgement were way

off.” When Ms. Grossberg tried to defend herself and keep the focus of the discussion on the

horrid way in which she was being spoken to and the sexist and hostile work environment on

the show, Mr. Wells ominously warned Ms. Grossberg, “I don’t think being combative about it

going forward after we leave here is going to help anyone. I don’t think it’s going to help you

do what you want to do either in this role or with your career.”

       262.      In other, “keep complaining about discrimination and your career will be

destroyed.”




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       263.       Throughout the two-hour discussion, Mr. McCaskill spoke in a condescending

manner to Ms. Grossberg, often raising his voice and interrupting her. Indeed, Ms. Mekeel had to

repeatedly admonish him to be “respectful.”

       264.       Ms. Grossberg also revealed that the harassment she had endured at TCT made it

“hard to get up in the morning,” and that because of the constant barrage of hostility and sexism

she received from Mr. McCaskill and Mr. Wells, she would often escape to the “bathroom”

because she felt as if she was going to “cry.”

       265.       At the end of the meeting, Mr. McCaskill finally acknowledged: “We can take

that recommendation on both our parts in terms of collaborating a bit better in a more clear and

concise way, in a way that isn’t disrespectful.” Nevertheless, incredibly, Ms. Mekeel shifted the

blame back onto Ms. Grossberg, saying “there are missteps probably in many different directions.

But I’d say the bigger grander picture of all of this is the things that are expected in this role have

not been fulfilled.”

       266.       Nevertheless, after the meeting ended, Ms. Grossberg stayed behind to speak

with Ms. Mekeel alone, and recited the countless examples of sexism and antisemitism recounted

supra to her.

       267.       Ms. Mekeel claimed that she would investigate and “get back to” Ms. Grossberg,

but, to date, no meaningful investigation into Ms. Grossberg’s discrimination complaints has

occurred.

VI.    Ms. Grossberg Engages in Further Protected Activity by Requesting FMLA Leave as
       a Reasonable Accommodation But Continues to Suffer Discrimination and
       Retaliation
       .
       268.      After the January 12, 2023, meeting with Ms. Mekeel, Mr. Wells, and Mr.

McCaskill, Ms. Grossberg held out hope that the harassment towards her would cease. However,



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the very next day, Ms. Grossberg found herself under an even bigger microscope, as Mr.

McCaskill, Mr. Wells, and Mr. Fox suddenly began questioning virtually every decision she made.

This caused Ms. Grossberg to become even more anxious and physically ill.

       269.      Ms. Grossberg also heard nothing back from Ms. Mekeel or anyone else from the

HR department despite her very serious allegations of discrimination, harassment, and retaliation.

       270.      On January 17, 2023, feeling utterly hopeless, Ms. Grossberg contacted a Crisis

Hotline.

       271.      The next day, January 18, 2023, Ms. Grossberg had to call out sick, and was

advised by her therapist to immediately request leave under the FMLA to reasonably accommodate

and treat her diagnosis of depression and anxiety, which was being exacerbated by the harassment

she continued to experience at work.

       272.      On January 18, 2023, Ms. Grossberg requested FMLA leave through February 1,

2023, at which point her therapist would re-evaluate her.

       273.      On January 26, 2023, Ms. Grossberg requested an extension of her FMLA leave

until February 8, 2023, and attached a letter from her therapist stating, “Ms. Grossberg’s anxiety

symptoms continue to be clinically significant, and it is my opinion that they will worsen if she

returns prematurely. Ms. Grossberg does not feel emotionally safe to return to her workplace. In

order to transition back, she will need guidance and assurance from Human Resources that the

work environment will remain harassment free.”

       274.      On February 6, 2023, Ms. Grossberg requested an additional extension of her

FMLA leave until February 15, 2023, and provided another letter from her therapist stating, “Ms.

Grossberg’s anxiety symptoms have not abated sufficiently for me to recommend her return to




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work particularly since the clinical anxiety and depression were caused by events that occurred in

the workplace.”

       275.       On February 9, 2022, Ms. Grossberg spoke to Ms. Mekeel about her eventual

transition back to work from FMLA leave, and to get an update about the Company’s purported

investigation into her claims of harassment and discrimination that she had made back on January

12, 2022.

       276.       Ms. Grossberg began the conversation by saying that it was her “goal to come

back to work,” but that her therapist “suggested that we have this conversation to assess if I’m

ready and the safety and the health of the environment.” Ms. Grossberg asked Ms. Mekeel “what

steps have been taken and what’s being done” about the hostile work environment she endured at

TCT.

       277.       Ms. Mekeel explained that she had “reach[ed] out to a few members of the team

to kind of get their thoughts [about] not only religious but gender discrimination.” Specifically,

Ms. Mekeel mentioned she spoke to a “few members on the team,” but that there was “no

corroboration on those feelings similar to what you were feeling.” Ms. Mekeel further noted that

that Mr. Fox had confirmed that Ms. Grossberg complained to him about Mr. McCaskill, but that

he believed “it was just…a feeling about a co-worker.”

       278.       Ms. Grossberg questioned the veracity of this so-called “investigation,” and

maintained that there was an upsetting “culture” on TCT that needed to be investigated and

remedied.

       279.       Ms. Grossberg then proceeded to provide Ms. Mekeel with countless additional

examples of the discrimination she faced while working for Ms. Bartiromo, as recounted supra, to

which Ms. Mekeel dismissively replied, it is “certainly not appropriate, not something that any



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employee has to endure, but now you’ve been moved to the Tucker show.” Ms. Grossberg

explained how the hostile work environment “continue[d] there …it’s a broader problem,

culturally, and … it’s been ongoing…and it’s really upsetting as a woman as a human, to not feel

respected in that way.” Ms. Grossberg further expressed, “I tolerated it and I discussed it with

Maria [Bartiromo] and I kind of put up with it. Here [at TCT], it’s just really not bearable.” Ms.

Mekeel acknowledged that she needed to investigate Ms. Grossberg’s accusations and determine

whether there is a culture that needed to be altered and promised to touch base with Ms. Grossberg

the following week.

       280.      On Tuesday, February 14, 2022, after not having heard back from Ms. Mekeel

as to whether any corrective actions were being taken to put an end to the toxic, misogynist culture

on TCT, Ms. Grossberg requested an extension of her FMLA leave, telling Ms. Mekeel: “In light

of the concerns that I raised last week about returning to a healthy work environment, and the fact

that I have not received any assurances from human resources that the harassment and

discrimination I’ve experienced has been investigated and will not continue, I am still

experiencing anxiety about returning to work on Wednesday.”             Ms. Grossberg’s therapist

supported Ms. Grossberg’ request to extend her FMLA leave and stated, “Ms. Grossberg’s anxiety

symptoms continue to be clinically significant, and it is my opinion that they will worsen if she

returns prematurely. Ms. Grossberg does not feel emotionally safe to return to her workplace. To

transition back, she will need guidance and assurance from Human Resources that the work

environment will remain harassment free.”

       281.      Ms. Mekeel dismissively responded to Ms. Grossberg’s concerns: “we do not

agree with … [your therapist’s] unfounded assertion that the workplace is not harassment free.”




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VII.   Fox News, in Line With its Modus Operandi When it Comes to Brave Women Who
       Speak Out About Sexism and Misogyny They Had to Endure at the Network, Not
       only Files a Baseless Retaliatory Preemptive Lawsuit Against Ms. Grossberg Meant
       Only to Chill and Silence Her and Deter Other Courageous Women from Following
       in Her Footsteps, but Placed Her on Forced Administrative Leave

       282.       On March 20, 2023, Plaintiff and her counsel met with Defendants’ counsel and

a corporate representative for the Entity Defendants to attempt to resolve Ms. Grossberg’s legal

claims asserted herein.

       283.       When Ms. Grossberg did not agree to Fox News’s terms of settlement, part and

parcel to their modus operandi of doing anything it can to silence women who have been violated

by the Company, Fox News immediately, within minutes, sued Ms. Grossberg in a clear and

blatant act of unlawful retaliation.

       284.       As referenced above, this is not the first preemptive lawsuit involving a female

Fox News staffer. Andrea Mackris, who accused Bill O'Reilly of sexual harassment in 2004, filed

her lawsuit several hours after O'Reilly accused her and her lawyer of extortion.

       285.       Fox News has gone into its old playbook to try to deny Ms. Grossberg’s right to

bring this instant action against it and its top executives on baseless, flimsy grounds, in a desperate

and retaliatory bid to stop her story from being told.

       286.       Fortunately, Ms. Grossberg refuses to be silenced, as her story is needed to bring

justice not just to her, but to the scores of other women who have been unlawfully marginalized,

diminished, dismissed, and treated inferiorly to men at the Network.

       287.       In addition to suing her, just hours later, Fox News retaliatorily placed Ms.

Grossberg on forced administrative leave, effectively bringing an end to Ms. Grossberg’s career

at the Network.




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       288.      Fox News, through the actions of its attorneys yet again, sent a clear message to

victims of discrimination and harassment – Speak out, and you are out.

       289.      Accordingly, as set forth above, Defendants have unlawfully subjected Ms.

Grossberg to a toxic work environment that is hostile to women like her, and rife with blatant and

frequent acts of discrimination with respect to the terms and conditions of her employment in

comparison to male employees. As a result, Ms. Grossberg has been significantly damaged —

economically, emotionally, and reputationally — and is forced to bring the instant action seeking

redress from Defendants and to put an end to the discriminatory and hostile work environment she

and other female Fox News employees have had to endure for far, far too long.

                       AS AND FOR A FIRST CAUSE OF ACTION
               Violations of the Federal Equal Pay Act, 29 U.S.C. § 206 et seq.
                                   Against Entity Defendants

       290.      Plaintiff repeats and realleges the allegations contained in the foregoing

paragraphs as if fully and completely stated herein.

       291.      During the period of Plaintiff’s employment, Entity Defendants were subject to

the provisions of the federal Equal Pay Act. During that time, Entity Defendants required Plaintiff

to perform the same or substantially the same job position as male employees, requiring equal

skill, effort, and responsibility under similar working conditions at the same establishment, and

paid Plaintiff at a rate of pay less than such male employees. The differential rate of pay was not

part of or occasioned by a seniority system, merit system, a system based on the quantity or quality

of production, or upon a factor other than gender.

       292.      Entity Defendants engaged in patterns, practices, and/or policies of employment

that discriminated against Plaintiff on the bases of her gender and by paying Plaintiff a lesser rate

of pay than that paid to male employees performing the same or substantially similar job duties



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which require equal skill, effort, and responsibility, and under the same working conditions and at

the same establishment.

          293.     By the actions described above, Entity Defendants have violated the federal

Equal Pay Act.

          294.     As a direct and proximate result of Entity Defendants’ unlawful and

discriminatory conduct in violation of the federal Equal Pay Act, Plaintiff has suffered, and

continues to suffer, harm for which she is entitled to an award of monetary damages and other

relief.

          295.     Plaintiff is further entitled to liquidated damages, reasonable costs, and attorneys’

fees.

                         AS AND FOR A SECOND CAUSE OF ACTION
                 Violations of the New York Pay Equity Law, NYLL § 194 et seq.
                                     Against Entity Defendants

          296.   Plaintiff repeats and realleges the allegations contained in the foregoing paragraphs

as if fully and completely stated herein.

          297.   During the period of Plaintiff’s employment, Entity Defendants were subject to the

provisions of the New York Equal Pay Act. During that time, Entity Defendants required Plaintiff

to perform the same or substantially the same job position as male employees, requiring equal

skill, effort, and responsibility under similar working conditions at the same establishment, and

paid Plaintiff at a rate of pay less than such male employees. The differential rate of pay was not

part of or occasioned by a seniority system, merit system, a system based on the quantity or quality

of production, or upon a factor other than gender.

          298.   Entity Defendants engaged in patterns, practices, and/or policies of employment

that discriminated against Plaintiff on the bases of her gender and by paying Plaintiff a lesser rate



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of pay than that paid to male employees performing the same or substantially similar job duties

which require equal skill, effort, and responsibility, and under the same working conditions and at

the same establishment.

       299.    By the actions described above, Entity Defendants have violated he New York

Labor Law.

       300.    As a direct and proximate result of Entity Defendants’ unlawful and discriminatory

conduct in violation of the New York Labor Law, Plaintiff has suffered, and continues to suffer,

harm for which she is entitled to an award of monetary damages and other relief.

       301.    Plaintiff is further entitled to treble damages, reasonable costs, and attorneys’ fees.

                    AS AND FOR A THIRD CAUSE OF ACTION
  Gender Discrimination in Violation of New York State Human Rights Law (NYSHRL),
                           New York Executive Law § 296(1)
                                  Against All Defendants

       302.    Plaintiff repeats and realleges the allegations contained in the foregoing paragraphs

as if fully and completely stated herein.

       303.    New York Executive Law Section 296(1)(a) provides that: “It shall be an unlawful

discriminatory practice …[f]or an employer … because of an individual’s …sex… to refuse to

hire or employ or to bar or to discharge from employment such individual or to discriminate against

such individual in compensation or in terms, conditions or privileges of employment.”

       304.    Defendants discriminated against Plaintiff in the terms and conditions of her

employment based on her gender in violation of the NYSHRL by, including, but not limited to,

failing to promote her, subjecting her to a hostile work environment, refusing to adequately

investigate her claims of discrimination, and providing less effective legal counsel and

representation with regards to her deposition preparation than afforded to her similarly situated

male colleagues.

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       305.    To establish a prima facie discriminatory failure to promote case, a plaintiff must

demonstrate that: (1) she is a member of a protected class; (2) she was qualified for the position at

issue; (3) she was rejected for the position; and (4) the circumstances of the adverse employment

decision give rise to an inference of discrimination.

       306.    Plaintiff is a woman and thus a member of a protected class under Section 296(1)(a)

of the New York Human Rights Law.

       307.    Plaintiff was eminently qualified to serve as Executive Producer of SMFMB, and

as the only employee exclusively dedicated to the show, she effectively performed her job

responsibilities to a high standard as well as the role of Executive Producer for several years,

without the title and corresponding pay increase. This is supported by, inter alia, the strong

viewership ratings earned by SMFMB under her direction, confirmation on the part of Ms.

Petterson that Plaintiff was talented, and Ms. Bartiromo’s admissions that Mr. Faulkner

“constantly” makes “dumb mistakes.”

       308.    Nevertheless, Defendants passed Ms. Grossberg over for a promotion to Executive

Producer of SMFMB after the role was open and advertised in or about October 2021. When

Plaintiff attempted to apply, she was told by Fox Senior Executives Lauren Petterson and Ralph

Giordano that they wanted to hire a man for the position because they needed someone who could

exert “control” over Ms. Bartiromo. Ultimately, Mr. Faulkner was hired to replace Ms. Grossberg

after she accepted a position with TCT, and immediately received the Executive Producer title,

despite being deemed unqualified by Ms. Bartiromo on multiple occasions.

       309.    New York Executive Law Section 296(1)(h) provides that: “It shall be an unlawful

discriminatory practice …[f]or an employer…to subject any individual to harassment because of

an individual’s age, race, creed, color, national origin, citizenship or immigration status, sexual



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orientation, gender identity or expression, military status, sex, disability, predisposing genetic

characteristics, familial status, marital status, status as a victim of domestic violence, or because

the individual has opposed any practices forbidden under this article or because the individual has

filed a complaint, testified or assisted in any proceeding under this article, regardless of whether

such harassment would be considered severe or pervasive under precedent applied to harassment

claims. Such harassment is an unlawful discriminatory practice when it subjects an individual to

inferior terms, conditions, or privileges of employment because of the individual’s membership in

one or more of these protected categories. The fact that such individual did not make a complaint

about the harassment to such employer, licensing agency, employment agency or labor

organization shall not be determinative of whether such employer, licensing agency, employment

agency or labor organization shall be liable. Nothing in this section shall imply that an employee

must demonstrate the existence of an individual to whom the employee’s treatment must be

compared. It shall be an affirmative defense to liability under this subdivision that the harassing

conduct does not rise above the level of what a reasonable victim of discrimination with the same

protected characteristic or characteristics would consider petty slights or trivial inconveniences”

(emphasis added).

       310.    To establish a prima facie case of a hostile work environment under the NYSHRL,

a plaintiff must allege that she has been subjected to inferior terms, conditions, or privileges of

employment because of her protected status under the NYSHRL, or she has been treated less well

than other employees because of her protected status.

       311.    Based on the conduct alleged herein, Plaintiff has asserted countless instances

during her time on both SMFMB and TCT where she was treated less well than male employees

because of her gender, including but not limited to, being belittled and subjected to sexist tropes



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(i.e., “stay at home”, “crazy bitch”, “diva”), not credited for producing shows, required to spy on

and report back to management about Ms. Bartiromo, denied vital support and assistance,

including Production Assistants (in comparison to male-run weekly shows), sent harassing

communications and told to “not subvert” Mr. Carlson, being ignored and shut out of meetings,

and being spoken down to in an effort to undermine her authority.

       312.    Defendants knew about Ms. Grossberg’s discrimination and harassment, including

through her various protected complaints to Ms. Petterson, Mr. Andrews, Ms. West, Mr. Fox, and

Ms. Mekeel, yet failed to conduct a proper investigation or otherwise address and remedy the

underlying discrimination and harassment in every instance. Plaintiff was explicitly coached

during her deposition preparation to downplay any complaints she had made about said

harassment, in a blatant effort to cover-up the hostile work environment that is pervasive at Fox

News, among other reasons.

       313.    As a direct and proximate result of the discriminatory, harassing, and abusive

conduct of Defendants, Plaintiff suffered adverse employment consequences by the conduct of its

employees and managers, including loss of wages, professional opportunities, and other valuable

benefits and emoluments of employment, as well as severe mental, physical and emotional stress,

pain and suffering, anxiety, stress, humiliation, exacerbation of existing medical conditions and

personal sickness, loss of enjoyment of life and damage to her reputation.

       314.    Defendants’ conduct was willful and motived by malice and/or reckless

indifference to Plaintiff’s legal rights, entitling her to an award of punitive damages.




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                   AS AND FOR A FOURTH CAUSE OF ACTION
  Gender Discrimination in Violation of New York City Human Rights Law (NYCHRL),
                           N.Y. Administrative Code § 8-107
                                 Against All Defendants

       315.    Plaintiff repeats and realleges the allegations contained in the foregoing paragraphs

as if fully and completely stated herein.

       316.    The NYCHRL makes it unlawful for an employer to discriminate against an

employee in the terms, conditions or privileges of employment based on gender.

       317.    NYC Administrative Code 8-107(1) provides that: “It shall be an unlawful

discriminatory practice: (a) [f]or an employer or an employee or agent thereof, because of the

actual or perceived … gender… of any person: (1) To represent that any employment or position

is not available when in fact it is available; (2) To refuse to hire or employ or to bar or to discharge

from employment such person; or (3) To discriminate against such person in compensation or in

terms, conditions or privileges of employment.”

       318.    To state a claim for discrimination under the NYCHRL, a plaintiff must only show

differential treatment of any degree based on a discriminatory motive. The NYCHRL must be

construed broadly in favor of discrimination plaintiffs, to the extent that such a construction is

reasonably possible to include differential treatment of a much broader degree than required under

the NYSHRL.

       319.    Defendants discriminated against Plaintiff in the terms and conditions of her

employment based on her gender in violation of the NYCHRL by, including, but not limited to,

failing to promote her, subjecting her to a hostile work environment, refusing to adequately

investigate her claims of discrimination, and providing less effective legal counsel and

representation with regards to her deposition preparation than afforded to her similarly situated

male colleagues.

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       320.    Under the NYCHRL, liability for a hostile work environment claim is proven

where a plaintiff proves that he or she was treated less well than other employees because of the

relevant characteristic.

       321.    Based on the conduct alleged herein, Plaintiff was marginalized, humiliated, and

discriminated against by Fox News because she is a woman.

       322.    As a direct and proximate result of the discriminatory, harassing, and abusive

conduct of Defendants, Plaintiff suffered adverse employment consequences by the conduct of its

employees and managers, including loss of wages, professional opportunities, and other valuable

benefits and emoluments of employment, as well as severe mental, physical and emotional stress,

pain and suffering, anxiety, stress, humiliation, exacerbation of existing medical conditions and

personal sickness, loss of enjoyment of life and damage to her reputation.

       323.    Defendants’ conduct was willful and motived by malice and/or reckless

indifference to Plaintiff’s legal rights, entitling her to an award of punitive damages.

                        AS AND FOR A FIFTH CAUSE OF ACTION
         Retaliation in Violation of New York State Human Rights Law (NYSHRL),
                           New York State Executive Law § 296(7)
                                     Against All Defendants

       324.    Plaintiff repeats and realleges the allegations contained in the foregoing paragraphs

as if fully and completely stated herein.

       325.    New York Executive Law Section 296(7) provides that: “It shall be an unlawful

discriminatory practice for any person engaged in any activity to which this chapter applies to

retaliate or discriminate against any person because he or she person has opposed any practice

forbidden under this article or because he or she has filed a complaint, testified or assisted in any

proceeding under this article.”




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       326.    A plaintiff makes a prima facie case for retaliation under the NYSHRL by showing

that (1) she engaged in a protected activity, (2) the employer was aware of the protected activity,

(3) the plaintiff suffered an adverse employment action, and (4) there was a causal connection

between the protected activity and the adverse or disadvantageous action.

       327.    Plaintiff engaged in protected activity by complaining, inter alia, to Ms. Petterson

and Mr. Andrews about the hostile work environment and discrimination based on gender inflicted

upon her by Fox News employees, including, but not limited, to Mr. Clark, to Mr. Fox about the

hostile work environment and discrimination based on gender inflicted upon her by Fox News

employees, including, but not limited to, Mr. Wells and Mr. McCaskill, and to Ms. Mekeel about

the hostile work environment and discrimination based on gender inflicted upon her by Fox News

employees, including, but not limited to, Ms. Petterson, Mr. Clark, Mr. Andrews, Mr. Wells and

Mr. McCaskill.

       328.    Instead of addressing her reports and complaints, Defendants subjected Plaintiff to

further mistreatment by, inter alia, denying her a promotion to Executive Producer, denying her

effective legal representation and the opportunity to review and correct, if necessary, her

deposition transcript, despite affording the same opportunity to male colleagues, scheduling a

meeting with Human Resources mere hours after she complained to Mr. Fox about gender

discrimination and harassment, during which Plaintiff was hostilely confronted by her harassers,

Mr. Wells and Mr. McCaskill, issued a baseless written warning, and baselessly claiming that there

was “no corroboration” on her “feelings,” and dismissing her complaints about her experiences at

SMFMB because she has “been moved to the Tucker show,” preemptively filed a lawsuit against

Ms. Grossberg, and placed her on forced administrative leave.




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       329.    Defendants’ retaliatory tactics were reasonably likely to deter a person from

engaging in protective activity, such as complaining about discrimination.

       330.    As a direct and proximate result of the retaliatory conduct of Defendants, Plaintiff

suffered adverse employment consequences by the conduct of its employees and managers,

including loss of wages, professional opportunities, and other valuable benefits and emoluments

of employment, as well as severe mental, physical and emotional stress, pain and suffering,

anxiety, stress, humiliation, exacerbation of existing medical conditions and personal sickness,

loss of enjoyment of life and damage to her reputation.

       331.    Defendants’ conduct was willful and motived by malice and/or reckless

indifference to Plaintiff’s legal rights, entitling her to an award of punitive damages.

                        AS AND FOR A SIXTH CAUSE OF ACTION
         Retaliation in Violation of New York City Human Rights Law (NYCHRL),
                             N.Y. Administrative Code § 8-107(7)
                                     Against All Defendants

       332.    Plaintiff repeats and realleges the allegations contained in the foregoing paragraphs

as if fully and completely stated herein.

       333.    NYC Administrative Code 8-107(7) provides: “It shall be an unlawful

discriminatory practice for any person engaged in any activity to which this chapter applies to

retaliate or discriminate in any manner against any person because such person has (i) opposed

any practice forbidden under this chapter, (ii) filed a complaint, testified or assisted in any

proceeding under this chapter, (iii) commenced a civil action alleging the commission of an act

which would be an unlawful discriminatory practice under this chapter, (iv) assisted the

commission or the corporation counsel in an investigation commenced pursuant to this title, (v)

requested a reasonable accommodation under this chapter, or (vi) provided any information to the




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commission pursuant to the terms of a conciliation agreement made pursuant to section 8-115 of

this chapter.”

       334.      A plaintiff makes a prima facie case for retaliation under the NYCHRL by showing

that (1) she engaged in a protected activity, (2) the employer was aware of the protected activity,

(3) the employer took an action that disadvantaged the plaintiff, and (4) there was a causal

connection between the protected activity and the adverse or disadvantageous action.

       335.      Plaintiff engaged in protected activity, as detailed supra.

       336.      Defendants knew that Plaintiff had engaged in protected activity, as detailed supra.

       337.      Defendants subjected Plaintiff to actions that disadvantaged her, as detailed supra,

in relation to her employment that were based upon her protected activity, as detailed supra.

       338.      The disadvantageous actions taken against Plaintiff were a direct result of her

engagement in protected activity at Fox News and were reasonably likely to deter her from

engaging in protected activity, as detailed supra.

       339.      As a direct and proximate result of the discriminatory, harassing, and abusive

conduct of Defendants, Plaintiff suffered adverse employment consequences by the conduct of its

employees and managers, including loss of wages, professional opportunities, and other valuable

benefits and emoluments of employment, as well as severe mental, physical and emotional stress,

pain and suffering, anxiety, stress, humiliation, exacerbation of existing medical conditions and

personal sickness, loss of enjoyment of life and damage to her reputation.

       340.      Defendants’ conduct was willful and motived by malice and/or reckless

indifference to Plaintiff’s legal rights, entitling her to an award of punitive damages.




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                    AS AND FOR A SEVENTH CAUSE OF ACTION
 Religious Discrimination in Violation of New York State Human Rights Law (NYSHRL),
                           New York State Executive Law § 296
      Against Defendants Fox News Network, Mr. Carlson, Mr. Wells, and Mr. McCaskill

       341.    Plaintiff repeats and realleges the allegations contained in the foregoing paragraphs

as if fully and completely stated herein.

       342.    New York Executive Law Section 296(1)(a) provides that: “It shall be an unlawful

discriminatory practice …[f]or an employer …, because of an individual’s … creed… to refuse to

hire or employ or to bar or to discharge from employment such individual or to discriminate against

such individual in compensation or in terms, conditions or privileges of employment.”

       343.    To establish a prima facie case of a hostile work environment under NYSHRL

plaintiff must allege that she has been subjected to inferior terms, conditions, or privileges of

employment because of her protected status under the NYSHRL, or she has been treated less well

than other employees because of her protected status.

       344.    Plaintiff is Jewish and thus a member of a protected class under Section 296(1)(a)

of the New York Human Rights Law.

       345.    Defendants Mr. McCaskill and Mr. Wells, discriminated against Plaintiff in the

terms and conditions of her employment based on her religion (Judaism) in violation of the

NYSHRL by creating an intimidating, hostile, and offensive working environment where those of

the Jewish faith were ridiculed for observing traditional holidays, held out as token employees to

win “sham” diversity awards, disparaged for their traditional foods, and holding other faiths clearly

in higher regard.

       346.    Fox News knew about Ms. Grossberg’s discrimination and harassment through her

complaints to Ms. Mekeel but failed to take appropriate action to correct it.




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       347.    As a direct and proximate result of the discriminatory, harassing, and abusive

conduct of Defendants, Plaintiff suffered adverse employment consequences by the conduct of its

employees and managers, including loss of wages, professional opportunities, and other valuable

benefits and emoluments of employment, as well as severe mental, physical and emotional stress,

pain and suffering, anxiety, stress, humiliation, exacerbation of existing medical conditions and

personal sickness, loss of enjoyment of life and damage to her reputation.

       348.    Defendants’ conduct was willful and motived by malice and/or reckless

indifference to Plaintiff’s legal rights, entitling her to an award of punitive damages.

                     AS AND FOR AN EIGHTH CAUSE OF ACTION
        Religious Discrimination in Violation of New York City Human Rights Law,
                             N.Y. Administrative Code § 8-107
       Against Defendants Fox News Network, Mr. Carlson, Mr. Wells and Mr. McCaskill

       349.    Plaintiff repeats and realleges the allegations contained in the foregoing paragraphs

as if fully and completely stated herein.

       350.    The NYCHRL makes it unlawful for an employer to discriminate against an

employee in the terms, conditions or privileges of employment based on gender.

       351.    NYC Administrative Code 8-107(1) provides that: It shall be an unlawful

discriminatory practice: (a) For an employer or an employee or agent thereof, because of the actual

or perceived … gender… of any person: (1) To represent that any employment or position is not

available when in fact it is available; (2) To refuse to hire or employ or to bar or to discharge from

employment such person; or (3) To discriminate against such person in compensation or in terms,

conditions or privileges of employment.”

       352.    To state a claim for discrimination under the NYCHRL, a plaintiff must only show

differential treatment of any degree based on a discriminatory motive. The NYCHRL must be

construed “broadly in favor of discrimination plaintiffs, to the extent that such a construction is

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reasonably possible” to include differential treatment of a much broader degree than required under

the NYSHRL.

       353.    Under the NYCHRL, liability for a hostile work environment claim is proven

where a plaintiff proves that he or she was treated less well than other employees because of the

relevant characteristic.

       354.    Plaintiff was treated less well and was marginalized, humiliated, and discriminated

against by Defendants Wells and McCaskill because of her Jewish faith, as detailed supra.

       355.    As a direct and proximate result of the discriminatory, harassing, and abusive

conduct of Defendants, Plaintiff suffered adverse employment consequences by the conduct of its

employees and managers, including loss of wages, professional opportunities, and other valuable

benefits and emoluments of employment, as well as severe mental, physical and emotional stress,

pain and suffering, anxiety, stress, humiliation, exacerbation of existing medical conditions and

personal sickness, loss of enjoyment of life and damage to her reputation.

       356.    Defendants’ conduct was willful and motived by malice and/or reckless

indifference to Plaintiff’s legal rights, entitling her to an award of punitive damages.

                    AS AND FOR A NINTH CAUSE OF ACTION
  Failure to Accommodate Disability in Violation of New York State Human Rights Law
                   (NYSHRL), New York State Executive Law § 296
                              Against Entity Defendants

       357.    Plaintiff repeats and re-alleges the allegations contained in all of the preceding

paragraphs of this Complaint as if set forth herein at length.

       358.    The NYSHRL makes it unlawful for an employer to discriminate against an

employee in the terms, conditions, or privileges of employment based on disability.

       359.    New York Executive Law Section 296(1)(a) provides that: “It shall be an unlawful

discriminatory practice …[f]or an employer … because of an individual’s …disability… to refuse

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to hire or employ or to bar or to discharge from employment such individual or to discriminate

against such individual in compensation or in terms, conditions or privileges of employment.”

       360.    Defendants discriminated against Plaintiff in the terms and conditions of her

employment based on her disability in violation of the NYSHRL by, inter alia, failing to

accommodate her.

       361.    To state a prima facie case of a failure to accommodate under the NYSHRL, the

plaintiff must allege facts to suggest that: “(1) the employee has a disability under the relevant

statute, (2) an employer covered by the statute had notice of [her] disability, (3) with reasonable

accommodations, [she] could perform the essential functions of [her] job, and (4) [her] employer

refused to make such accommodations.”

       362.    The NYSHRL affirmatively requires that, even in the absence of a specific request,

an employer shall make reasonable accommodation to enable a person with a disability to satisfy

the essential requisites of a job, provided that the disability is known or should have been known

to the employer.”

       363.    Mental health disabilities, including depression and anxiety, constitute a protected

disability under the NYSHRL.

       364.    Ms. Grossberg suffers from depression and anxiety, which was exacerbated by the

discrimination she endured in the workplace.

       365.    Ms. Mekeel, among others at Fox News, was aware of the mental toll she

experienced because of Mr. McCaskill’s and Mr. Well’s harassment, including that she would at

times need to “go into the bathroom” because she felt she was about to “cry,” yet, Ms. Mekeel

took no remedial action and sent Ms. Grossberg right back into the same harassing work




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environment. Neither Ms. Mekeel nor any other Fox News employee made Ms. Grossberg aware

of possible accommodations that she could avail herself of.

       366.    After Ms. Grossberg suffered a complete mental and nervous breakdown, her

therapist advised her that returning to the workplace would be detrimental to her health, resulting

in her request for FMLA leave.

       367.    As a direct and proximate result of Defendants’ conduct, Ms. Grossberg has

suffered, and continues to suffer, loss of stature, damage to her career path, adverse job

consequences, including economic damages, severe mental, physical, and emotional stress, pain

and suffering, anxiety, stress, humiliation, exacerbation of existing medical conditions and

personal sickness, loss of enjoyment of life and damage to her reputation.

       368.    Defendants’ conduct was willful and motived by malice and/or reckless

indifference to Plaintiff’s legal rights, entitling her to an award of punitive damage.

                   AS AND FOR A TENTH CAUSE OF ACTION
Failure to Accommodate Disability in Violation of the New York City Human Rights Law,
                         N.Y. Administrative Code § 8-107
                               Against Entity Defendants

       369.    Plaintiff repeats and re-alleges the allegations contained in all of the preceding

paragraphs of this Complaint as if set forth herein at length.

       370.    The NYCHRL makes it unlawful for an employer to discriminate against an

employee in the terms, conditions or privileges of employment based on disability.

       371.    NYC Administrative Code 8-107(1) provides that: It shall be an unlawful

discriminatory practice: (a) For an employer or an employee or agent thereof, because of the actual

or perceived age, race, creed, color, national origin, gender, disability, marital status, partnership

status, caregiver status, sexual and reproductive health decisions, sexual orientation, uniformed

service or immigration or citizenship status of any person: (1) To represent that any employment

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or position is not available when in fact it is available; (2) To refuse to hire or employ or to bar or

to discharge from employment such person; or (3) To discriminate against such person in

compensation or in terms, conditions or privileges of employment.”

       372.    Mental health disabilities, including depression and anxiety constitute a protected

disability under the NYCHRL.

       373.     To state a prima facie case of a failure to accommodate under the NYCHRL, just

as it is under NYSHRL, the plaintiff must allege facts to suggest that: (1) the employee has

a disability under the relevant statute, (2) an employer covered by the statute had notice of

[her] disability, (3) with reasonable accommodations, [she] could perform the essential functions

of [her] job, and (4) [her] employer refused to make such accommodations.

       374.    Ms. Grossberg suffers from depression and anxiety, which was exacerbated by the

discrimination she endured in the workplace.

       375.    Ms. Mekeel, among others at Fox News, was aware of the mental toll she

experienced because of Mr. McCaskill’s and Mr. Well’s harassment, including that she would at

times need to “go into the bathroom” because she felt she was about to “cry,” yet, Ms. Mekeel

took no remedial action and sent Ms. Grossberg right back into the same harassing work

environment. Neither Ms. Mekeel nor any other Fox News employee made Ms. Grossberg aware

of possible accommodations that she could avail herself of.

       376.    After Ms. Grossberg suffered a complete mental and nervous breakdown, her

therapist advised her that returning to the workplace would be detrimental to her health, resulting

in her request for FMLA leave.

       377.    As a direct and proximate result of Defendants’ conduct, Ms. Grossberg has

suffered, and continues to suffer, loss of stature, damage to her career path, adverse job



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consequences, including economic damages, severe mental, physical, and emotional stress, pain

and suffering, anxiety, stress, humiliation, exacerbation of existing medical conditions and

personal sickness, loss of enjoyment of life and damage to her reputation.

       378.    Defendants’ conduct was willful and motived by malice and/or reckless

indifference to Plaintiff’s legal rights, entitling her to an award of punitive damage.

                AS AND FOR AN ELEVENTH CAUSE OF ACTION
  Aiding And Abetting Unlawful Discrimination and Retaliation in Violation of the New
                           York State Human Rights Law
                           Against Individual Defendants

       379.    Plaintiff repeats and re-alleges the allegations contained in all the preceding

paragraphs of this Complaint as if set forth herein at length.

       380.    New York Executive Law Section 296(6) provides that: it is “an unlawful

discriminatory practice for any person to aid, abet, incite, compel or coerce the doing of any of the

acts forbidden under this article, or attempt to do so.”

       381.    By the actions described above, among others, Defendants Clark, Andrews, West,

Carlson, Wells and McCaskill knowingly or recklessly aided and abetted and directly participated

in the unlawful discrimination and/or retaliation to which Plaintiff was subjected in violation of

the NYSHRL.

       382.    As a direct and proximate result of Defendants Clark, Andrews, West, Carlson,

Wells and McCaskill’s unlawful conduct in violation of the NYSHRL, Plaintiff has suffered, and

continues to suffer, monetary and/or economic harm, for which she is entitled to an award of

damages, in addition to reasonable attorneys’ fees and expenses.

       383.    As a direct and proximate result of Defendants Clark, Andrews, West, Carlson,

Wells and McCaskill’s unlawful conduct in violation of the NYSHRL, Plaintiff has suffered, and




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continues to suffer, mental anguish and severe emotional distress, for which she is entitled to an

award of damages.

       384.    Defendants Clark, Andrews, West, Carlson, Wells and McCaskill’s unlawful

and/or retaliatory actions constitute malicious, willful, and wanton violations of the NYSHRL, for

which Plaintiff is entitled to an award of punitive damages.

                  AS AND FOR A TWELFTH CAUSE OF ACTION
  Aiding And Abetting Unlawful Discrimination and Retaliation in Violation of the New
                           York City Human Rights Law
                           Against Individual Defendants

       385.    Plaintiff repeats and re-alleges the allegations contained in all the preceding

paragraphs of this Complaint as if set forth herein at length.

       386.    New York City Administrative Code Section 8-107(6) provides that: it is “an

unlawful discriminatory practice for any person to aid, abet, incite, compel or coerce the doing of

any of the acts forbidden under this article, or attempt to do so.”

       387.    By the actions described above, among others, Defendants Clark, Andrews, West,

Carlson, Wells and McCaskill knowingly or recklessly aided and abetted and directly participated

in the unlawful discrimination and/or retaliation to which Plaintiff was subjected in violation of

the NYCHRL.

       388.    As a direct and proximate result of Defendants Clark, Andrews, West, Carlson,

Wells and McCaskill’s unlawful conduct in violation of the NYCHRL, Plaintiff has suffered, and

continues to suffer, monetary and/or economic harm, for which she is entitled to an award of

damages, in addition to reasonable attorneys’ fees and expenses.

       389.    As a direct and proximate result of Defendants Clark, Andrews, West, Carlson,

Wells and McCaskill’s unlawful conduct in violation of the NYCHRL, Plaintiff has suffered, and




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continues to suffer, mental anguish and severe emotional distress, for which she is entitled to an

award of damages.

       390.     Defendants Clark, Andrews, West, Carlson, Wells and McCaskill’s unlawful

and/or retaliatory actions constitute malicious, willful, and wanton violations of the NYCHRL, for

which Plaintiff is entitled to an award of punitive damages.

       WHEREFORE, Plaintiff respectfully demands judgment in her favor against Defendants

as follows:

       A.       Declaring that Defendants have engaged in, and enjoining Defendants from

continuing to engage in, unlawful employment practices prohibited by federal, New York State

and New York City Law;

       B.       Awarding Plaintiff compensatory damages for all back and future loss of wages,

lost income, benefits, retirement losses, stock benefits losses, pain, suffering, stress, humiliation,

mental anguish, emotional harm and personal physical injury and physical sickness, as well as

damage to her reputation, damage to career path, and loss of income stemming therefrom;

       C.       Awarding Plaintiff liquidated damages;

       D.       Awarding Plaintiff treble damages;

       E.       Awarding Plaintiff punitive damages;

       F.       Awarding Plaintiff attorneys’ fees and expert/consultant fees;

       G.       Awarding Plaintiff pre- and post-judgment interest;

       H.       Awarding Plaintiff reimbursement for the negative tax consequences of a

judgment;

       I.       Awarding Plaintiff costs of suit and attoneys’ fees; and

       J.       Awarding Plaintiff such other relief as the Court may deem just and proper.



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                                       JURY DEMAND

      Plaintiff demands a trial by jury with respect to all issues properly triable by jury.

Dated: March 20, 2023
       White Plains, New York                        FILIPPATOS PLLC

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